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                               EXHIBIT 
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      1          IN THE UNITED STATES DISTRICT COURT
      2           FOR THE NORTHERN DISTRICT OF OHIO
      3                   EASTERN DIVISION
      4                        - - -
      5
             IN RE: NATIONAL                        :    HON. DAN A.
      6      PRESCRIPTION OPIATE                    :    POLSTER
             LITIGATION                             :
      7                                             :
             APPLIES TO ALL CASES                   :    NO.
      8                                             :    1:17-MD-2804
                                                    :
      9
                         - HIGHLY CONFIDENTIAL -
     10
            SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
     11
     12                       - - -
     13                 November 28, 2018
     14                       - - -
     15                  Videotaped deposition of
            WILLIAM DE GUTIERREZ-MAHONEY, taken
     16     pursuant to notice, was held at the law
            offices of Covington & Burling, LLP, The
     17     New York Times Building, 620 Eighth
            Avenue, New York, New York, beginning at
     18     9:08 a.m., on the above date, before
            Michelle L. Gray, a Registered
     19     Professional Reporter, Certified
            Shorthand Reporter, Certified Realtime
     20     Reporter, and Notary Public.
     21                      - - -
     22            GOLKOW LITIGATION SERVICES
               877.370.3377 ph | 917.591.5672 fax
     23                  deps@golkow.com
     24

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      1     APPEARANCES:
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     23
     24

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      1           APPEARANCES:            (Cont'd.)
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     20           Pbricard@pelini-law.com
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     21           Prescription Supply, Inc.
     22
     23
     24

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      1           TELEPHONIC APPEARANCES:
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      9           Chicago, Illinois 60654
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     14           Atlantic City, New Jersey 08401
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     15           Emuskett@foxrothschild.com
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     16           Pharmaceuticals
     17
                  ALSO PRESENT:
     18
                  VIDEOTAPE TECHNICIAN:
     19              Henry Marte
     20
                  LITIGATION TECHNICIAN:
     21              Mike Kutys
     22
     23
     24

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      1                                   - - -
      2                                 I N D E X
      3                                  - - -
      4

            Testimony of:
      5                          WILLIAM DE GUTIERREZ-MAHONEY
      6

                       By Mr. Bogle                             20, 550
      7

                       By Mr. Bowden                                  301
      8

                       By Mr. Schmidt                         483, 599
      9
     10
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     12                                - - -
     13                            E X H I B I T S
     14                                - - -
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      1                            - - -
      2                    DEPOSITION SUPPORT INDEX
      3                            - - -
      4

      5     Direction to Witness Not to Answer
      6     PAGE   LINE
            None.
      7

      8     Request for Production of Documents
      9     PAGE   LINE
            None.
     10

     11     Stipulations
     12     PAGE   LINE
            None.
     13

            Questions Marked
     14

            PAGE        LINE
     15     None.
     16

     17

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      1                           THE VIDEOGRAPHER:               We are
      2                 now on the record.               My name is
      3                 Henry Marte, the videographer with
      4                 Golkow Litigation Services.
      5                           Today's date is November 28,
      6                 2018.      And the time is 9:08 a.m.
      7                           This videotaped deposition
      8                 is being held at Covington and
      9                 Burling LLP, located at 620 Eighth
     10                 Avenue, New York, New York, in the
     11                 matter of National Prescription
     12                 Opiate Litigation.
     13                           The deponent today is
     14                 William de Gutierrez-Mahoney.
     15                           Counsel, please introduce
     16                 themselves for the record, which
     17                 after the court reporter will
     18                 administer the oath to the
     19                 witness.
     20                           MR. BOGLE:          Brandon Bogle on
     21                 behalf of plaintiffs.
     22                           MR. BOWDEN:          Wes Bowden on
     23                 behalf of plaintiffs.
     24                           MR. LIVINGSTON:             Scott
    Golkow Litigation Services                                             Page 18
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      1                 Livingston on behalf of Defendant,
      2                 HBC.
      3                           MR. RICARD:          Paul Ricard on
      4                 behalf of Prescription Supply.
      5                           MS. DURFEE:          Laura Jane
      6                 Durfee on behalf of Walmart.
      7                           MS. McNAMARA:            Colleen
      8                 McNamara, on behalf of Cardinal
      9                 Health.
     10                           MS. CALLAS:          Gretchen Callas
     11                 on behalf of AmerisourceBergen.
     12                           MS. DORRIS:          Lauren Dorris
     13                 on behalf of McKesson.
     14                           MR. SCHMIDT:           Paul Schmidt
     15                 on behalf of McKesson.
     16                           And let me just say, if I
     17                 may, I don't know what the prior
     18                 practice has been, I meant to
     19                 check this, but my understanding
     20                 is that everyone in the room and
     21                 everyone on the phone is
     22                 subjective to the protective order
     23                 and the deposition will be covered
     24                 by the confidentiality provisions
    Golkow Litigation Services                                             Page 19
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      1                 of the protective order.                   But if
      2                 that's not true as to anyone,
      3                 please correct me.
      4                           MR. BOGLE:            I think that's
      5                 accurate.
      6                           MS. MUSKETT:             Michelle, did
      7                 you get Fox Rothschild.
      8                           MS. ONYEFORO:            Lucy Onyeforo
      9                 of Allegaert, Berger & Vogel is on
     10                 the phone as well for Rochester
     11                 Drug Corporation.
     12                                    -    -      -
     13                 ... WILLIAM DE GUTIERREZ-MAHONEY,
     14     having been first duly sworn, was
     15     examined and testified as follows:
     16                                 -      -    -
     17                              EXAMINATION
     18                                -    -      -
     19     BY MR. BOGLE:
     20                 Q.        Good morning, Mr. Mahoney.
     21     How are you doing?
     22                 A.        Good morning.            Good.
     23                 Q.        My name is Brandon Bogle,
     24     I'm going to be asking you some questions
    Golkow Litigation Services                                             Page 20
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      1     today.
      2                           Just starting out for the
      3     record, can I get your full name, please?
      4                 A.        William de
      5     Gutierrez-Mahoney.
      6                 Q.        Okay.      And have you ever had
      7     your deposition taken before?
      8                 A.        I've been deposed in other
      9     matters, but not with opioids.
     10                 Q.        Right.       And I'm talking
     11     generally in this sense.                   So how many
     12     times have you been deposed in any sort
     13     of matter prior to today?
     14                 A.        Once.      Once.
     15                 Q.        Once.      What was the general
     16     subject matter in that deposition?
     17                 A.        It was -- it was a murder
     18     case, and the question was about chain of
     19     custody.
     20                 Q.        Okay.      Were you testifying
     21     in some law enforcement capacity?
     22                 A.        It was a criminal case.                   And
     23     the state wanted to know if the product
     24     that had been used in the crime had come
    Golkow Litigation Services                                             Page 21
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      1     from McKesson.
      2                 Q.        Okay.      So you were working
      3     for McKesson at that point in time?
      4                 A.        Yes.
      5                 Q.        Okay.      So just to kind of
      6     refresh you a little bit on a deposition,
      7     just sort of the basics, I'm going to ask
      8     you some questions today.                    I'll do my
      9     very best to ask my question, give you
     10     every opportunity to answer before I ask
     11     my next question.
     12                           I'll also ask that even if
     13     you think you know where I'm going, if
     14     you can let me get my full question out
     15     there before you answer so that we don't
     16     step on each others' toes, I think that
     17     the court reporter will appreciate that.
     18     Is that fair?
     19                 A.        Yes.
     20                 Q.        Okay.      And you can take a
     21     break whenever you want.                   It's not an
     22     endurance contest.               Just tell myself or
     23     your own counsel here.                  The only thing I
     24     ask is if I've got a question pending, if
    Golkow Litigation Services                                             Page 22
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      1     you could answer that question and we can
      2     break for whenever -- however you want.
      3                           And the last thing is if you
      4     don't understand or don't hear something
      5     that I say, ask me to repeat or rephrase.
      6     I'll do my best to make it clear to you.
      7     But if you answer my question, I'm going
      8     to assume that you understood it.                          Is
      9     that fair?
     10                 A.        Yes.
     11                 Q.        Okay.      Where are you
     12     currently employed?
     13                 A.        At McKesson.
     14                 Q.        Okay.      And how long have you
     15     been with McKesson?
     16                 A.        I've been with McKesson for
     17     17-plus years.
     18                 Q.        Okay.      So starting
     19     approximately 2001; is that right?
     20                 A.        Yes.
     21                 Q.        Okay.      What was your job in
     22     2001 when you started, job title?
     23                 A.        I joined McKesson as a
     24     business process manager.
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      1                 Q.        Was that at Lakeland?
      2                 A.        Our facility in Florida at
      3     that time was in Tampa.
      4                 Q.        Okay.      How long did you have
      5     that position?
      6                 A.        I think I had it between
      7     let's say one year and two years.
      8                 Q.        Okay.      What was your next
      9     job at McKesson after that?
     10                 A.        It was assistant
     11     distribution center manager.
     12                 Q.        Was it in the Tampa
     13     facility?
     14                 A.        Yes.
     15                 Q.        How long did you have that
     16     job?      Just the years is fine.
     17                 A.        Until '04.
     18                 Q.        Okay.      And beginning in '04,
     19     it's my understanding that you took the
     20     role as distribution center manager for
     21     the Lakeland facility; is that right?
     22                 A.        Yes.
     23                 Q.        Okay.      And you held that
     24     position from 2004 until approximately
    Golkow Litigation Services                                             Page 24
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      1     December 2007; is that right?
      2                 A.        Yes.
      3                 Q.        Beginning in January 2008
      4     you took over as director of regulatory
      5     affairs for the southeast region, fair?
      6                 A.        Yes.
      7                 Q.        Okay.      Has that been your
      8     job title from January 2008 to the
      9     present?
     10                 A.        Yes.
     11                 Q.        Okay.      Now, just so I
     12     understand, when we talk about the
     13     southeast region, can you give me a sense
     14     of what that encompasses, whether it be
     15     states or distribution centers or however
     16     that's divided out at McKesson.
     17                 A.        Initially, I was responsible
     18     for six distribution centers, in
     19     Lakeland; Atlanta; Birmingham, Alabama;
     20     Memphis, Tennessee; Conroe, Texas; and
     21     Oklahoma City.
     22                 Q.        Okay.      And you said
     23     initially.          So at some point in time, did
     24     that change?
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      1                 A.        Yes.
      2                 Q.        When did that change?
      3                 A.        We brought on another person
      4     in 2013.         And at that point I was
      5     responsible for Birmingham, Lakeland, and
      6     Atlanta.
      7                 Q.        Who is the person that was
      8     brought on in 2013?
      9                 A.        Linda Martin.            There's been
     10     a subsequent change too.
     11                 Q.        Okay.      What was that?             First
     12     of all, when did that subsequent change
     13     occur?
     14                 A.        I believe it happened in the
     15     middle of 2014.
     16                 Q.        Okay.      What changed?
     17                 A.        Jerry Carmack joined.                 And
     18     he picked up Memphis and Birmingham.
     19     Linda moved to Texas and Oklahoma City,
     20     and I was responsible for Atlanta and
     21     Lakeland.
     22                           MR. SCHMIDT:           And I
     23                 apologize.          I can appreciate if
     24                 you were running something off the
    Golkow Litigation Services                                             Page 26
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      1                 screen.        Do you have a copy of
      2                 whatever you're running?
      3                           MR. BOGLE:          I haven't marked
      4                 anything yet.            I'm not -- we can
      5                 take that down.             I haven't marked
      6                 anything yet.            It's not supposed
      7                 to be on the screen yet.                   Yeah, we
      8                 certainly will when we go through
      9                 it.
     10                           MR. SCHMIDT:           I understand.
     11     BY MR. BOGLE:
     12                 Q.        Okay.      So I didn't catch the
     13     last part there.              So I apologize.              I'm
     14     going to repeat part of this so I
     15     understand.           I want to know from your
     16     perspective in mid-2014, which facilities
     17     you were responsible for from a
     18     regulatory perspective?
     19                 A.        From then on --
     20                 Q.        Yes, sir.
     21                 A.        -- I became responsible for
     22     Atlanta and Lakeland.
     23                 Q.        Atlanta and Lakeland.                 Has
     24     that been true from mid-2014 to present?
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      1                 A.        Yes.
      2                 Q.        Now, going back to the time
      3     that you were distribution center manager
      4     for Lakeland, would that have encompassed
      5     running the day-to-day operations for the
      6     distribution center?
      7                 A.        Yes.
      8                 Q.        Okay.      And can you just give
      9     me a general sense, again, as a
     10     distribution center manager for Lakeland,
     11     what your general job responsibilities
     12     were?
     13                 A.        I was responsible for hiring
     14     and enabling the distribution center to
     15     service its customer base.                     We would
     16     receive product from manufacturers, stock
     17     the shelves, and process orders in the
     18     evening for delivery the following day.
     19                 Q.        Okay.      And the time period
     20     that you had that role from '04 to '07,
     21     there would also have been
     22     responsibilities under the Controlled
     23     Substances Act that would have fallen
     24     within your purview, right?
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      1                 A.        Yes.
      2                 Q.        Okay.      That would include,
      3     for example, suspicious order monitoring
      4     for controlled substances, right?
      5                 A.        Yes.
      6                 Q.        Okay.      And can you give me a
      7     sense of what your role during that time
      8     period would have been from that
      9     perspective of suspicious order
     10     monitoring?




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     11     just asking your recollection.                        So if you
     12     don't recall, that's fine.
     13                 A.        Right.
     14                 Q.        Okay.      The Lakeland
     15     distribution center, we'll start with '04
     16     to '07 time frame, what -- geographically
     17     what states did that cover as far as a
     18     customer base?
     19                 A.        In '04, I think we covered
     20     actually some portions -- the geography
     21     that we covered moved between '04 and
     22     '06 --
     23                 Q.        Okay.
     24                 A.        -- because of the Florida
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      1     pedigree law.
      2                 Q.        Okay.
      3                 A.        And the decision was made to
      4     basically make Lakeland the primary with
      5     only one -- one or two backups, vehicle
      6     for delivering -- acquiring and
      7     delivering pedigree product to conform
      8     with the Florida pedigree law.
      9                 Q.        When you say pedigree
     10     product, I want to make sure that our
     11     jury understands what that means.                          What
     12     is a pedigree product?
     13                 A.        Because of investigations
     14     which observed that there is companies or
     15     entities were counterfeiting product or
     16     repackaging it in a way that undermined
     17     its efficacy and whether it was safe for
     18     the public, Florida implemented the
     19     Florida pedigree law.                 And initially they
     20     chose 30 drugs that they viewed as being
     21     subject to diversion that way.
     22                           And they required a pedigree
     23     on who had bought the various
     24     transactions which took place between the
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      1     manufacturer and -- or actually the
      2     distributor who bought it from the
      3     manufacturer and the pharmacy or entity
      4     to which it was sold.
      5                 Q.        Would it be fair to say that
      6     it's sort of similar to what you
      7     mentioned before in the respect that you
      8     testified before, sort of a chain of
      9     custody throughout the lifecycle of the
     10     product to establish at all times it was
     11     a legitimate product?
     12                 A.        Right.
     13                 Q.        Okay.      And let me ask my
     14     other question maybe a different way.
     15     From 2004 to present, has the Lakeland
     16     distribution center serviced customers in
     17     the State of Florida?
     18                 A.        Yes.
     19                 Q.        Okay.      You mentioned the
     20     term "diversion" in your answer just a
     21     minute ago.           What do you understand the
     22     term "diversion" to mean?
     23                 A.        Where a product is
     24     inappropriately taken out of the normal
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      1     supply chain.            In this case, one of the
      2     modes was that customers would buy a
      3     product and then attempt to return
      4     altered or not pedigree product into the
      5     supply chain.
      6                 Q.        Okay.      And the concept of
      7     diversion is -- it can be broader than
      8     that, right?
      9                 A.        Sure, sure.
     10                 Q.        Okay.      Are there any other
     11     examples of diversion that you can think
     12     of?
     13                 A.        Yeah.      There is -- I guess,
     14     not chain.          There's diversion that used
     15     to take place between closed door
     16     pharmacies and independent retail
     17     pharmacies in which pricing which was
     18     offered to closed door pharmacies would
     19     be diverted into the normal chain of
     20     independent flow, at which it would be
     21     able to be sold for higher prices.                          That
     22     was something that the manufacturers
     23     really clamped down on.
     24                           And then there's diversion
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      1     of controlled substances.
      2                 Q.        Okay.      And the concept of
      3     diversion, as I read it, is sort of
      4     generally defined as the use of a drug
      5     for an illegitimate medical purpose.                            Do
      6     you think that's a fair general
      7     statement?
      8                 A.        Particularly in the case of
      9     controls.
     10                 Q.        Right.       Is that a fair
     11     general statement for controlled
     12     substances?
     13                 A.        Yes.
     14                 Q.        Okay.      So prior to taking on
     15     your role as director of regulatory
     16     affairs in 2008, did you have any prior
     17     experience working in a regulatory
     18     capacity for any company?
     19                 A.        No.




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      5                 Q.        Okay.      And you said CSA.
      6     And, again, I just want to make sure
      7     we're clear on what everything means
      8     here.       That's the Controlled Substance
      9     Act?
     10                 A.        Yes, sir.
     11                 Q.        Okay.      I saw a reference
     12     somewhere to you previously working for
     13     Cardinal Health; is that right?
     14                 A.        I worked -- yes.
     15                 Q.        Okay.      What period of time
     16     did you work there?
     17                 A.        I worked for Cardinal from
     18     March of '98 to the summer of 2000.
     19                 Q.        Okay.      What did you do
     20     generally for Cardinal?
     21                           First of all, what was your
     22     job title?          Let's start there.
     23                 A.        Job title was director of
     24     operations.
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      1                 Q.        Was that for a distribution
      2     center?
      3                 A.        Yes.
      4                 Q.        Where?
      5                 A.        In Lakeland.
      6                 Q.        Okay.      Were your job
      7     responsibilities similar there to what
      8     they were at McKesson when you were
      9     distribution center manager?
     10                 A.        Yes.
     11                 Q.        Okay.      You worked for --
     12     did -- had you worked for any other
     13     pharmaceutical distributors prior to
     14     working for Cardinal?
     15                 A.        No.
     16                 Q.        And McKesson is a
     17     distributor of pharmaceutical products,
     18     right?
     19                 A.        Yes.




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      3                 Q.        And obviously the deposition
      4     today is going to focus largely on opioid
      5     products.         You understand that, right?
      6                 A.        Yes.
      7                 Q.        That's what we're here to
      8     talk about?
      9                 A.        Yes.
     10                 Q.        And you are familiar with
     11     opioids, right?
     12                 A.        Yes.
     13                 Q.        Okay.      And McKesson has
     14     distributed opioids during the time that
     15     you've worked with the company, right?
     16                 A.        Yes.
     17                 Q.        And opioids are a controlled
     18     substance, right?
     19                 A.        Yes.
     20                 Q.        And opioids are -- fall into
     21     the category of a narcotic drug, right?
     22                 A.        Yes.




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     20                           MR. SCHMIDT:           Objection.
     21                 Foundation.
     22     BY MR. BOGLE:
     23                 Q.        You can still answer unless
     24     he tells you not to answer.
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      1                 A.        Okay.      Can you repeat that?
      2                 Q.        Sure, I can.




      8                           MR. SCHMIDT:           Same
      9                 objection.




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      2                           MR. SCHMIDT:           Objection.
      3                 Form.
      4                            (Document marked for
      5                 identification as Exhibit
      6                 MCK-Mahoney-1)
      7     BY MR. BOGLE:
      8                 Q.        Okay.      I'm going to hand you
      9     what's marked as Exhibit 1.1464.                         Also
     10     marked as Exhibit 1 to your deposition.
     11     And the beginning Bates number is
     12     MCK_MDL_00478906.
     13                           Here's your copy.               And this
     14     is a long table, sir, so I'm not trying
     15     to throw stuff at you, I swear.
     16                           Okay.      So looking at
     17     Exhibit 1 here.             Let me introduce it and
     18     then I want to ask you some questions
     19     about it.
     20                           Do you see this is a letter
     21     from the U.S. Department of Justice Drug
     22     Enforcement Administration dated
     23     September 27, 2006.                Do you see that?
     24                 A.        Yes.
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      1                 Q.        Okay.      Have you seen this
      2     letter before today?
      3                 A.        Yes.
      4                 Q.        Okay.      Did you see it in and
      5     around 2006?
      6                 A.        Yes.
      7                 Q.        Okay.      How was it -- how did
      8     you come to see it in and around 2006?
      9                 A.        It may have been addressed
     10     to me at the DC.              But I also saw it via
     11     e-mail internally.
     12                 Q.        Okay.      All right.           So I want
     13     to discuss a few portions of this letter.
     14                           The first paragraph there
     15     says, "This letter is being sent to every
     16     commercial entity in the United States
     17     registered with the Drug Enforcement
     18     Administration to distribute controlled
     19     substances.           The purpose of this letter
     20     is to reiterate the responsibilities of
     21     controlled substance distributors in view
     22     of the prescription drug abuse problem
     23     our nation currently faces."
     24                           Do you see that?
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      1                 A.        Yes.
      2                 Q.        Okay.      And McKesson in 2006
      3     was registered with the DEA to distribute
      4     controlled substances, right?
      5                 A.        Yes.
      6                 Q.        And if you go down to the
      7     third paragraph on the first page.                          And
      8     I'm in the -- let's start with the first
      9     sentence.         It says, "The CSA was designed
     10     by Congress to combat diversion by
     11     providing for a closed system of drug
     12     distribution in which all legitimate
     13     handlers of controlled substances must
     14     obtain a DEA registration, and as a
     15     condition of maintaining such
     16     registration, must take reasonable steps
     17     to ensure that their registration's not
     18     being utilized as a source of diversion.
     19     Distributors are, of course, one of the
     20     key components of the distribution chain.
     21     If the closed system is to function
     22     properly as Congress envisioned,
     23     distributors must be vigilant in deciding
     24     whether a prospective customer can be
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      1     trusted to deliver controlled substances
      2     only for lawful purposes."
      3                           Did I read that correctly?
      4                 A.        Yes.
      5                 Q.        Okay.      There's a reference
      6     here to a closed system in this regard.
      7     What do you understand a closed system to
      8     mean?
      9                 A.        A closed system is a system
     10     in which the -- the drugs are initiated
     11     at a manufacturer, usually acquired by
     12     distributor.           Could be sent to another
     13     distributor, or to a pharmacy.
     14                           The prescription is
     15     initiated with the -- the doctor.                          And
     16     the distributor delivers the drugs to the
     17     pharmacy, and the pharmacy fills scripts
     18     which are initiated by the doctor.
     19                 Q.        And in a closed system in --
     20     in the concept of controlled substances
     21     means that essentially you have to have
     22     this DEA registration in order to be able
     23     to prescribe or distribute or manufacture
     24     controlled substances, right?
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      1                 A.        Yes.
      2                 Q.        Okay.      Okay.       Look at the
      3     next sentence here.                It says, "This
      4     responsibility is critical as Congress
      5     has expressly declared that the illegal
      6     distribution of controlled substances has
      7     a substantial and detrimental effect on
      8     the health and general welfare of the
      9     American people."
     10                           Do you see that?
     11                 A.        Yes.
     12                 Q.        Do you agree with that
     13     sentence?
     14                           MR. SCHMIDT:           Objection.
     15                 Foundation.
     16                           THE WITNESS:           Yes.
     17     BY MR. BOGLE:
     18                 Q.        And turning to the second
     19     page of this document, one more section
     20     that I wanted to look at with you.
     21                           You see in the middle of the
     22     page there where it says the DEA
     23     regulations require?                 Do you see that?
     24                 A.        Yes.
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      1                 Q.        It says, "The DEA
      2     regulations require all distributors to
      3     report suspicious orders of controlled
      4     substances.           Specifically the regulations
      5     state in 21 C.F.R. 1301.74(b), "The
      6     registrant shall design and operate a
      7     system to disclose to the registrant
      8     suspicious orders of controlled
      9     substances.           The registrant shall inform
     10     the field division office of the
     11     administration in his area of suspicious
     12     orders when discovered by the registrant.
     13     Suspicious orders include orders of
     14     unusual size, orders deviating
     15     substantially from a normal pattern, and
     16     orders of unusual frequency."
     17                           Do you see that?
     18                 A.        Yes.
     19                 Q.        And that paragraph I just
     20     read that's from the C.F.R., that's a
     21     paragraph that you're familiar with,
     22     right?
     23                 A.        Yes.
     24                 Q.        And then it goes on to say,
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      1     "It bears emphasis that the foregoing
      2     reporting requirement is in addition to,
      3     and not in lieu of, the general
      4     requirement under 21 U.S.C. 823(e) that a
      5     distributor maintain effective controls
      6     against diversion.               Thus, in addition to
      7     reporting all suspicious orders, a
      8     distributor has statutory responsibility
      9     to exercise due diligence to avoid
     10     filling suspicious orders that might be
     11     diverted into other than a legitimate
     12     medical, scientific, and industrial
     13     channels."
     14                           Do you see that?
     15                 A.        Yes.
     16                 Q.        And these -- this additional
     17     duty to avoid filling here, that's what
     18     we talked about earlier which is the duty
     19     to block suspicious orders when they're
     20     detected, right?
     21                 A.        Yes.
     22                 Q.        Okay.      And would you agree
     23     that reporting suspicious orders to the
     24     DEA is important because it allows the
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      1     DEA to decide whether it wants to
      2     investigate whether diversion is
      3     occurring as to the order you're
      4     reporting?
      5                           MR. SCHMIDT:           Objection.
      6                 Foundation.
      7                           THE WITNESS:           I'm not sure
      8                 what the DEA used the information
      9                 that we sent to them for.
     10     BY MR. BOGLE:




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      3                 Q.        Okay.      So do you have a
      4     sense as to whether -- actually, strike
      5     that.
      6                           Would you agree with me that
      7     blocking a suspicious order is important
      8     because it ensures that potential
      9     diversion does not occur with that order?
     10                           MR. SCHMIDT:           Same
     11                 objection.          Foundation.
     12                           THE WITNESS:           That's the
     13                 intent, yes.
     14     BY MR. BOGLE:
     15                 Q.        Okay.      And diversion of
     16     controlled substances, including opioids
     17     can be prevented by compliance with the
     18     Controlled Substance Act, right?
     19                           MR. SCHMIDT:           Same
     20                 objection.
     21                           THE WITNESS:           I think there
     22                 are a lot of different
     23                 participants.            And even if
     24                 Controlled Substance Act is
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      1                 complied with by a majority of the
      2                 participants, diversion can still
      3                 occur.
      4     BY MR. BOGLE:
      5                 Q.        Okay.      So you would not
      6     agree then that diversion of opioids
      7     specifically can be prevented through
      8     compliance with the Controlled Substance
      9     Act?
     10                           MR. SCHMIDT:           Same
     11                 objection.
     12                           THE WITNESS:           Are you
     13                 talking about relative to
     14                 distributors?
     15     BY MR. BOGLE:
     16                 Q.        Yeah.      We can start there.
     17                 A.        Okay.      Can you repeat the
     18     question?




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      1                 Q.        Okay.      Do you agree that
      2     there is an ongoing opioid epidemic in
      3     the United States?
      4                 A.        Yes.
      5                 Q.        And that epidemic has been
      6     going on for more than a decade in this
      7     country, right?
      8                           MR. SCHMIDT:           Objection.
      9                 Foundation.
     10                           THE WITNESS:           I'm not sure
     11                 exactly when it began.
     12     BY MR. BOGLE:




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     21     opioid overdoses are the leading cause of
     22     injury-related death in the United
     23     States?
     24                 A.        I'm not sure about that.
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      1                 Q.        Okay.
      2                 A.        I've heard that for
      3     different age groups and that kind of
      4     thing.       But I'm not sure.
      5                 Q.        Okay.      Why don't we take a
      6     look at something here with you on that
      7     point.       I'm going to hand you 1.264,
      8     which is marked as Exhibit 2.
      9                            (Document marked for
     10                 identification as Exhibit
     11                 MCK-Mahoney-2.)
     12     BY MR. BOGLE:
     13                 Q.        This is a public document.
     14     So no Bates numbers.
     15                           MR. SCHMIDT:           You can throw
     16                 it.     I know you're not being rude.
     17                 It's a big table.
     18     BY MR. BOGLE:
     19                 Q.        Okay.      Mr. Mahoney, what
     20     I've handed you -- here again, I'll
     21     introduce it, and we'll kind of go from
     22     there -- is a document from May 4, 2018,
     23     from the U.S. House of Representatives
     24     Committee on Energy and Commerce.
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      1                           Do you see that?
      2                 A.        Mm-hmm.
      3                 Q.        Okay.      Have you seen this
      4     document before?
      5                 A.        I don't think I've seen this
      6     document.
      7                 Q.        Okay.      Do you see that the
      8     line at the top notes, "Regarding hearing
      9     entitled 'Combatting the Opioid Epidemic:
     10     Examining Concerns About Distribution and
     11     Diversion.'"
     12                           Do you see that?
     13                 A.        Yes.
     14                 Q.        Okay.      And if you look here,
     15     on that first page, there's a section
     16     that lists witnesses for the hearing.
     17                 A.        Yes.
     18                 Q.        Do you see that section?
     19                 A.        Mm-hmm.
     20                 Q.        And you see the third person
     21     listed there is a John H. Hammergren --
     22                 A.        Yes.
     23                 Q.        -- president and CEO of
     24     McKesson.         Do you see that?
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      1                 A.        Mm-hmm.
      2                 Q.        Okay.      And you are familiar
      3     with Mr. Hammergren, right?
      4                 A.        Yes.
      5                 Q.        Okay.      I mean, you know who
      6     he is, right?
      7                 A.        Yeah.
      8                 Q.        Okay.      Were you aware that
      9     he testified before Congress in 2018?
     10                 A.        Yes.
     11                 Q.        Yes.      What information were
     12     you provided about his testimony?
     13                 A.        I believe I watched it.
     14                 Q.        Okay.      So you did watch at
     15     least portions of this hearing that we're
     16     talking about here?
     17                 A.        Yes.
     18                 Q.        Okay.      So going to the
     19     second page of this document, and I'm
     20     looking at the paragraph below the chart
     21     that says, "The U.S. continues."
     22                 A.        Okay.
     23                 Q.        Do you see that?
     24                           It says, "The U.S. continues
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      1     to experience an opioid epidemic which
      2     has worsened over the last two decades.
      3     Opioid-involved overdose deaths are the
      4     leading cause of injury death in the U.S.
      5     and take the lives of 115 Americans per
      6     day.      According to a recent report issued
      7     by the Centers For Disease Control and
      8     Prevention, CDC, prescription or illicit
      9     opioids were involved in nearly
     10     two-thirds of all drug overdose deaths in
     11     the U.S. during 2016, a 27.7 percent
     12     increase from 2015.
     13                           "In total, more than 351,000
     14     people have died since 1999 due to an
     15     opioid-involved overdose.                    The crisis has
     16     become so severe that the average life
     17     expectancy declined in 2016 from the
     18     previous year largely because of opioid
     19     overdoses."
     20                           Do you see that there?
     21                 A.        Yes.
     22                 Q.        Okay.      Prior to looking at
     23     this today, were you aware that the life
     24     expectancy, at least in 2016, had
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      1     declined largely because of opioid
      2     overdoses?
      3                           MR. SCHMIDT:           Objection.
      4                 Foundation.
      5                           THE WITNESS:           I had heard
      6                 that life expectancy had gone
      7                 down.      But I hadn't attributed it
      8                 necessarily to just opioids.
      9                           Suicide, depression.                 There
     10                 were a lot of different things in
     11                 what I had seen.
     12     BY MR. BOGLE:
     13                 Q.        Okay.      But you've never seen
     14     the reference similar to the one here
     15     that decline, at least from 2016 versus
     16     2015, was largely because of opioid
     17     overdoses?
     18                 A.        I hadn't seen that sentence,
     19     no.
     20                 Q.        Any reason to dispute that
     21     finding?
     22                 A.        No.
     23                           MR. SCHMIDT:           Same
     24                 objection.
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      1     BY MR. BOGLE:
      2                 Q.        We talked a little bit
      3     earlier about your involvement at the
      4     Lakeland distribution center, initially
      5     as the assistant distribution center
      6     manager -- I think that was the title
      7     that you gave me -- then distribution
      8     center manager, and then as director of
      9     regulatory affairs responsible for
     10     Lakeland.         We talked about that earlier,
     11     right?
     12                 A.        Yes.
     13                 Q.        Okay.      So Florida -- let me
     14     back up.         Strike that.
     15                           Do you live in Florida?
     16                 A.        I do.
     17                 Q.        Okay.      How long have you
     18     lived in Florida?
     19                 A.        About 20 years.
     20                 Q.        Okay.      So being a Florida
     21     resident in addition to being an employee
     22     of McKesson in the capacities that we've
     23     discussed, you understand that Florida
     24     has been hit very hard by the opioid
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      1     epidemic, correct?
      2                 A.        Yes.
      3                 Q.        Are you familiar with Gary
      4     Boggs at McKesson?
      5                 A.        Yes, mm-hmm.
      6                 Q.        Did you know him in any
      7     capacity prior to him joining the
      8     company?
      9                 A.        I may have met him before.
     10     But I didn't know him.
     11                 Q.        Okay.      You do know that he
     12     was with the DEA prior to joining
     13     McKesson, right?
     14                 A.        Yes.
     15                 Q.        And he works in the
     16     regulatory affairs department at McKesson
     17     presently, right?
     18                 A.        Yes.
     19                 Q.        And has for the past five
     20     years or so, right?
     21                 A.        Yes.
     22                            (Document marked for
     23                 identification as Exhibit
     24                 MCK-Mahoney-3.)
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      1     BY MR. BOGLE:
      2                 Q.        I'm going to hand you what
      3     I'm marking Exhibit 1.851, also marked as
      4     Exhibit 3.
      5                           MR. SCHMIDT:           Bill, when
      6                 you're done with the exhibits,
      7                 I'll just put them here.                   If we
      8                 need to go back to any earlier
      9                 ones --
     10                           MR. BOGLE:          Yeah, we may
     11                 bounce a little back and forth.
     12                 But --
     13                           MR. SCHMIDT:           I'll help you
     14                 with that, which should be
     15                 terrifying to everyone in the
     16                 room.      I'll do my best.
     17     BY MR. BOGLE:
     18                 Q.        All right.          So Exhibit 3
     19     here, also marked as 1.851, is a




     23                           Do you see that?
     24                 A.        Yes.
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      1                 A.        Mm-hmm.
      2                 Q.        Is that a yes?
      3                 A.        Yes.
      4                 Q.        I'm sorry, I'm not trying to
      5     be rude, just want to make sure --
      6                 A.        No, I understand --
      7     understand.
      8                 Q.        The concept of a pill mill,
      9     what does that mean to you?
     10                 A.        The way I envision the pill
     11     mill is a doctor, doctor or doctor's
     12     office, in which people are seeing the
     13     doctor and getting opioids on the way
     14     out.
     15                 Q.        Okay.
     16                 A.        So from my exposure or
     17     things that I've seen, it would be a high
     18     volume-type operation.
     19                 Q.        Okay.      In the term "pill
     20     mill" as used generally in -- strike
     21     that.
     22                           The term "pill mill" when
     23     you are talking about the sales of
     24     controlled substances is -- has a
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      1     negative connotation to it, right?
      2                 A.        Yes.




     10                 Q.        Okay.      What is DU, do you
     11     know what that stands for?
     12                 A.        Dosage units.




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      3                           MR. SCHMIDT:           Objection.
      4                 Foundation.




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      2                 Q.        And you've seen that
      3     reference before today, right?
      4                 A.        I believe so.




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      9                           MR. SCHMIDT:           Objection.
     10                 Vague.




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      2                            (Document marked for
      3                 identification as Exhibit
      4                 MCK-Mahoney-4.)
      5     BY MR. BOGLE:
      6                 Q.        I'm going to hand you next
      7     what I'm marking as Exhibit 1.1968, also
      8     marked as Exhibit 4 to your deposition.
      9                           And the start date here is
     10     MCK_MDL_00651331.
     11                           Okay.      So what I've given
     12     you here is Exhibit 4.                  The title is




     20                 Q.        Okay.      And before we get
     21     into it, I have a few questions about it,
     22     but before we get there, ISMC, what does
     23     that stand for at McKesson?
     24                 A.        Independent and small and
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      1     medium chain.
      2                 Q.        Okay.
      3                 A.        So it's a segment of the
      4     retail marketplace.
      5                 Q.        Okay.      It's a type of
      6     pharmacy customer; is that fair?
      7                 A.        Yeah.




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      9                           MR. SCHMIDT:           Objection.
     10                 Foundation.




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     10                           MR. SCHMIDT:           Let me just
     11                 say, I think there was an issue in
     12                 one of the earlier depositions
     13                 about geographic focus
     14                 restriction.           We're, I think, well
     15                 outside of it with Florida.                     I'd
     16                 ask you to kind of focus on what's
     17                 at issue geographically.                   And if
     18                 not, we'll obviously preserve our
     19                 objection and maybe seek relief on
     20                 that basis.
     21                           MR. BOGLE:          Yeah, I mean,
     22                 you're certainly entitled to
     23                 object, but there's no geographic
     24                 restrictions as to what I can ask.
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      1                 I'm aware of nothing of the sort.
      2                           MR. SCHMIDT:           I don't think
      3                 we understand that in that way in
      4                 terms of the judge ordering -- the
      5                 special master ordering that
      6                 discovery should be focused on the
      7                 jurisdictions that would be
      8                 subject to the first trial.
      9     BY MR. BOGLE:
     10                 Q.        My question stands.                Do you
     11     recall my question?
     12                 A.        Can you repeat it, please?




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      5                           MR. SCHMIDT:           Objection.
      6                 Foundation.




     19                 Q.        Okay.      And Florida
     20     specifically, is it your understanding,
     21     has historically had one of the highest
     22     rates of diversion of opioids in the
     23     country?
     24                 A.        Let me see.          Historically?
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      1                 Q.        Yeah.      So, well let me ask
      2     you.      Here, we'll just look at the
      3     document.         We'll cut to it.
      4                            (Document marked for
      5                 identification as Exhibit
      6                 MCK-Mahoney-5.)
      7     BY MR. BOGLE:
      8                 Q.        I'll hand you what's marked
      9     as Exhibit 1.1434, also marked as
     10     Exhibit 5, and start with Bates
     11     MCKMDL00403517.
     12                           That's as far as I can get
     13     it.
     14                           Okay.      We'll start with the




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      8                 Q.        Are you familiar with the
      9     concept known as migration when it comes
     10     to controlled substances?
     11                           MR. SCHMIDT:           Objection.
     12                 Vague.
     13                           THE WITNESS:           I have -- I'm
     14                 not sure.
     15     BY MR. BOGLE:
     16                 Q.        Okay.      Not sure if you ever
     17     heard that term used in the context of
     18     controlled substances?
     19                 A.        I may have heard about it in
     20     various modes or forms.
     21                 Q.        Okay.      Do you have any sense
     22     of what that means, again focused on
     23     controlled substances?
     24                 A.        I think that one of the
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      1     things, for example, that was seen was
      2     that as the states were doing their part
      3     to fight the system, they were making
      4     more tools available to doctors and
      5     pharmacists that they could track what
      6     their patients were doing.
      7                           So state by state, they were
      8     implementing prescription monitoring
      9     programs.         And some states were early to
     10     embrace them, and some were later.
     11                           And I think that one of the
     12     things that was observed was that that
     13     was a strong tool that caused abuse to
     14     move to states that did not have those
     15     kinds of systems.
     16                           So as they were
     17     implemented -- and I don't know when the
     18     first one was implemented.                     But they may
     19     have moved from states where they were
     20     implemented.           Maybe Kentucky and Ohio
     21     were among the early ones.                     And abuse
     22     moved to states where there were less --
     23     less strong monitoring programs.
     24                 Q.        Okay.      Have you heard of the
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      1     concept of migration used in the sense of
      2     when controlled substances or even
      3     illegal -- applies equally to illegal
      4     drugs -- are supplied to a market,
      5     oversupplied to a market, when that
      6     market is oversupplied, the excess will
      7     tend to migrate somewhere else?
      8                           MR. SCHMIDT:           Objection.
      9                 Vague.
     10     BY MR. BOGLE:
     11                 Q.        Are you familiar with that
     12     kind of concept, migration?
     13                 A.        I can understand --
     14                           MR. SCHMIDT:           Same
     15                 objection.
     16                           Go ahead.
     17                           THE WITNESS:           I understand
     18                 what you're saying.
     19     BY MR. BOGLE:
     20                 Q.        Okay.      Does that make sense
     21     to you?
     22                           MR. SCHMIDT:           Same
     23                 objection.          Vague.
     24                           THE WITNESS:           It sounds like
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      1                 it makes sense.
      2     BY MR. BOGLE:
      3                 Q.        Okay.      And specifically
      4     talking about the State of Florida, there
      5     has been significant migration of drug
      6     diversion out of the State of Florida up
      7     to the east coast and the Midwest, right?
      8                 A.        I'm not sure.
      9                            (Document marked for
     10                 identification as Exhibit
     11                 MCK-Mahoney-6.)
     12     BY MR. BOGLE:
     13                 Q.        I'm going to hand you what
     14     I'm marking as Exhibit 1.1355, also
     15     marked as Exhibit 6.                 And it's Bates
     16     Number MCKMDL00407451.




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      1                           Do you see that?




     19                           MR. BOGLE:          This is a decent
     20                 breaking point if you don't mind.
     21                 Quick break, I'll reset my
     22                 documents.
     23                           MR. SCHMIDT:           Okay.
     24                           THE VIDEOGRAPHER:               Remove
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      1                 your microphones.              The time is
      2                 10:12 a.m.          Going off the record.
      3                           (Short break.)
      4                           THE VIDEOGRAPHER:               We are
      5                 back on the record.                The time is
      6                 10:27 a.m.
      7     BY MR. BOGLE:
      8                 Q.        All right, Mr. Mahoney.
      9     While you were distribution center
     10     manager for Lakeland distribution center,
     11     it was -- you had ultimate responsibility
     12     for every pill that left the distribution
     13     center, correct?
     14                 A.        Yes.




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     21                 Q.        I'm going to hand you what
     22     I'm marking as Exhibit 1.1946, also
     23     marked as Exhibit 7 to your deposition.
     24                            (Document marked for
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      1                 identification as Exhibit
      2                 MCK-Mahoney-7.)
      3     BY MR. BOGLE:
      4                 Q.        And the start Bates number
      5     is MCKMDL00496859.
      6                           You don't need to worry
      7     about those numbers.                 They just tell me
      8     that I have to read them off.
      9                           Okay.      So Exhibit 7 to




    Golkow Litigation Services                                             Page 92
Case: Highly
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Case: Highly
      1:17-md-02804-DAP Doc #:-1964-33
               Confidential     SubjectFiled:
                                           to 07/23/19
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Case: Highly
      1:17-md-02804-DAP Doc #:-1964-33
               Confidential     SubjectFiled:
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Case: Highly
      1:17-md-02804-DAP Doc #:-1964-33
               Confidential     SubjectFiled:
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                                                         of 607. PageID #: 164809
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Case: Highly
      1:17-md-02804-DAP Doc #:-1964-33
               Confidential     SubjectFiled:
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                                               Further98Confidentiality
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Case: Highly
      1:17-md-02804-DAP Doc #:-1964-33
               Confidential     SubjectFiled:
                                           to 07/23/19
                                               Further99Confidentiality
                                                         of 607. PageID #: 164811
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    Golkow Litigation Services                                             Page 98
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 100Confidentiality
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                                                                               Review




      15                           MR. SCHMIDT:            Object to
      16                 characterization.




     Golkow Litigation Services                                              Page 99
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 101Confidentiality
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     Golkow Litigation Services                                            Page 100
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 102Confidentiality
                                                           of 607. PageID #: 164814
                                                                               Review




       6                           MR. SCHMIDT:            Objection.
       7                 Characterization.




     Golkow Litigation Services                                            Page 101
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 103Confidentiality
                                                           of 607. PageID #: 164815
                                                                               Review




     Golkow Litigation Services                                            Page 102
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 104Confidentiality
                                                           of 607. PageID #: 164816
                                                                               Review




     Golkow Litigation Services                                            Page 103
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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                                               Further 105Confidentiality
                                                           of 607. PageID #: 164817
                                                                               Review




     Golkow Litigation Services                                            Page 104
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 106Confidentiality
                                                           of 607. PageID #: 164818
                                                                               Review




      23                           MR. SCHMIDT:            Objection.
      24                 Just a second.             Sorry.
     Golkow Litigation Services                                            Page 105
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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                                               Further 107Confidentiality
                                                           of 607. PageID #: 164819
                                                                               Review

       1                           Objection.          Foundation.




      15                           MR. SCHMIDT:            Objection.
      16                 Foundation.
      17     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 106
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 108Confidentiality
                                                           of 607. PageID #: 164820
                                                                               Review




      21                           MR. SCHMIDT:            Object to the
      22                 characterization.               You've got to
      23                 give me just a second to lodge an
      24                 objection.
     Golkow Litigation Services                                            Page 107
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 109Confidentiality
                                                           of 607. PageID #: 164821
                                                                               Review

       1                           THE WITNESS:            Okay.       Sorry.
       2                           MR. SCHMIDT:            That's okay.
       3     BY MR. BOGLE:




      19                           MR. SCHMIDT:            Object to the
      20                 characterization.




     Golkow Litigation Services                                            Page 108
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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                                               Further 110Confidentiality
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     Golkow Litigation Services                                            Page 109
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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                                               Further 111Confidentiality
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     Golkow Litigation Services                                            Page 110
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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                                               Further 112Confidentiality
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                                                                               Review




      22                           MR. SCHMIDT:            Object to the
      23                 characterization.
      24     BY MR. BOGLE:
     Golkow Litigation Services                                            Page 111
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 113Confidentiality
                                                           of 607. PageID #: 164825
                                                                               Review




       8                           MR. SCHMIDT:            Objection.
       9                 Characterization.




      13     BY MR. BOGLE:
      14                 Q.        Okay.       I'm going to hand you
      15     what I'm marking as 1.1789.                      Also marked
      16     as Exhibit 8.
      17                           Start Bates Number is
      18     MCK_MDL_00496876.
      19                             (Document marked for
      20                 identification as Exhibit
      21                 MCK-Mahoney-8.)
      22     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 112
Case: 1:17-md-02804-DAP Doc #: -1964-33
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     Golkow Litigation Services                                            Page 113
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 114
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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      24                           MR. SCHMIDT:            Object to the
     Golkow Litigation Services                                            Page 115
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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                                               Further 117Confidentiality
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       1                 characterization.




      17                           You see that, right?
      18                           MR. SCHMIDT:            Same
      19                 objection.




      24                           MR. SCHMIDT:            Same
     Golkow Litigation Services                                            Page 116
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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       1                 objection.




      11                           MR. SCHMIDT:            Objection.
      12                 Foundation.




     Golkow Litigation Services                                            Page 117
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 118
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     Golkow Litigation Services                                            Page 119
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 121
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      Highly Confidential               Filed:
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 123
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 124
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 126Confidentiality
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                                                                               Review




       8                             (Document marked for
       9                 identification as Exhibit
      10                 MCK-Mahoney-9.)
      11     BY MR. BOGLE:
      12                 Q.        I'm going to hand you what
      13     I'm marking as Exhibit 1.1963, also
      14     marked as Exhibit 9.                 Bates Number
      15     MCKMDL00571360.




     Golkow Litigation Services                                            Page 125
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     Golkow Litigation Services                                            Page 126
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      Highly Confidential               Filed:
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      14                           MR. SCHMIDT:            Objection.
      15                 Foundation.




     Golkow Litigation Services                                            Page 127
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     Golkow Litigation Services                                            Page 128
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      10                           MR. SCHMIDT:            Objection.
      11                 Foundation.




     Golkow Litigation Services                                            Page 130
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      Highly Confidential               Filed:
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                                               Further 132Confidentiality
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                                                                               Review




      15                           I'm going to hand you what
      16     I'm marking as Exhibit 1.1943, which is
      17     also Exhibit 10.
      18                             (Document marked for
      19                 identification as Exhibit
      20                 MCK-Mahoney-10.)
      21                           MR. BOGLE:          Start Bates is
      22                 MCK_MDL_00496306.
      23     BY MR. BOGLE:
      24                 Q.        Okay.       Start by sort of
     Golkow Litigation Services                                            Page 131
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 133Confidentiality
                                                           of 607. PageID #: 164845
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       1     orienting you to this document since it's
       2     a larger one here.                You see on the front




       8                 Q.        Okay.       Have you seen this
       9     before, this document?
      10                 A.        I'm not sure.
      11                 Q.        Okay.       All right.          Let's
      12     take a look first at, looking at the
      13     Bates numbers, it's 6309, excuse me.
      14                           I think it's the third page,
      15     or the fourth page of the document?
      16                 A.        Mm-hmm.
      17                 Q.        And you see this is the
      18     actual order to show cause that was filed
      19     by the DEA, do you see that?
      20                 A.        Yes.
      21                 Q.        Okay.       And you've seen this
      22     before, right?
      23                 A.        Yes.


     Golkow Litigation Services                                            Page 132
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 133
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     Golkow Litigation Services                                            Page 134
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      Highly Confidential               Filed:
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      12                           Do you see that?
      13                 A.        Yes.
      14                 Q.        This term "rogue internet
      15     pharmacies," what do you understand that
      16     to mean?
      17                 A.        I understand it to mean
      18     illegal -- pharmacies that are acting
      19     illegally to sell hydrocodone or
      20     oxycodone or other -- other products.
      21                 Q.        Okay.
      22                 A.        In some cases I think it was
      23     Viagra and Cialis and that kind of thing.


     Golkow Litigation Services                                            Page 136
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     Golkow Litigation Services                                            Page 137
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     Golkow Litigation Services                                            Page 138
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      12                           MR. SCHMIDT:            Object to
      13                 form.       Compound.




     Golkow Litigation Services                                            Page 139
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      Highly Confidential               Filed:
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      22                           MR. SCHMIDT:            Objection.
      23                 Foundation.


     Golkow Litigation Services                                            Page 141
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 142
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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       2                           MR. SCHMIDT:            Objection.
       3                 Foundation.




      23                           MR. SCHMIDT:            Objection.
      24                 Foundation.
     Golkow Litigation Services                                            Page 143
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      Highly Confidential               Filed:
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      17                           MR. SCHMIDT:            Objection.
      18                 Foundation.




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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 145
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 146
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 147
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 148
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      Highly Confidential               Filed:
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 151
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     Golkow Litigation Services                                            Page 153
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 154
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      Highly Confidential               Filed:
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       9                           MR. SCHMIDT:            Objection.
      10                 Foundation.




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                                               Further 158Confidentiality
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       7                           MR. SCHMIDT:            Objection.
       8                 Foundation.




      20                           MR. SCHMIDT:            Same
      21                 objection.          Foundation.
      22     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 157
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      Highly Confidential               Filed:
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      15                           MR. SCHMIDT:            Objection.
      16                 Foundation.




     Golkow Litigation Services                                            Page 158
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       1                           MR. SCHMIDT:            Objection.
       2                 Foundation.



       5     BY MR. BOGLE:
       6                 Q.        Okay.       I'm going to hand you
       7     what I'm marking as Exhibit 1.1947.
       8     Exhibit 11.           Start Bates is
       9     MCK_MDL_00497154.
      10                             (Document marked for
      11                 identification as Exhibit
      12                 MCK-Mahoney-11.)
      13                           MR. SCHMIDT:            Are you done
      14                 with this one?
      15                           MR. BOGLE:          I'm done for
      16                 now, but it's one we'll come back
      17                 to at some point.               So however you
      18                 want to deal with that.
      19                           MR. SCHMIDT:            I'll dig it
      20                 out when we come back to it.
      21                           MR. BOGLE:          It's an easy one
      22                 to find.
      23     BY MR. BOGLE:
      24                 Q.        Okay.       So I want to
     Golkow Litigation Services                                            Page 159
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       1     introduce this document to you here.                            Oh,
       2     sorry.




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      24                           MR. SCHMIDT:            Objection.
     Golkow Litigation Services                                            Page 161
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       1                 Foundation.
       2     BY MR. BOGLE:



       5                           MR. SCHMIDT:            Objection.
       6                 Foundation.




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      18                           MR. SCHMIDT:            Objection.
      19                 Foundation.




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      22                           MR. SCHMIDT:            Objection.
      23                 Foundation.


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       4                           MR. SCHMIDT:            Same
       5                 objection.


       7     BY MR. BOGLE:
       8                 Q.        Okay.       All right.          I'm going
       9     to hand you what I'm marking as
      10     Exhibit 12, which is also marked as
      11     1.1951.
      12                             (Document marked for
      13                 identification as Exhibit
      14                 MCK-Mahoney-12.)
      15                           MR. BOGLE:          Bates number
      16                 MCKMDL00496536.
      17                           MR. SCHMIDT:            While he's
      18                 looking at that I think we're
      19                 about an hour.             Maybe after this
      20                 document, can we take a break?
      21                           MR. BOGLE:          Yeah, we can
      22                 take one now if you want.
      23                           MR. SCHMIDT:            No, if you
      24                 want to go through the document.
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       1                 I don't want you to get --
       2     BY MR. BOGLE:
       3                 Q.        Well, I'll hand you -- all
       4     right.       And again, this is government
       5     Exhibit 3.          Do you see that statement on
       6     it there?
       7                 A.        Mm-hmm.
       8                 Q.        And I'll represent to you
       9     this came from McKesson as being part of
      10     the show cause exhibits for the Lakeland
      11     show cause proceeding that was given to
      12     us.
      13                 A.        Mm-hmm.
      14                 Q.        You see there's actually a
      15     stamp at the bottom, Drug Enforcement
      16     Administration.
      17                 A.        Right.
      18                 Q.        Right?       Do you see that?
      19                 A.        Mm-hmm.




     Golkow Litigation Services                                            Page 166
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      14                           MR. SCHMIDT:            Objection.
      15                 Foundation.




     Golkow Litigation Services                                            Page 169
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     Golkow Litigation Services                                            Page 170
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      13                           MR. BOGLE:          Okay.       We can
      14                 take a break now.
      15                           THE VIDEOGRAPHER:               Stand by
      16                 please.        Remove your microphones.
      17                 The time is 11:35 a.m.                   Going off
      18                 the record.
      19                           (Short break.)
      20                           THE VIDEOGRAPHER:               Okay.       We
      21                 are back on the record.                   The time
      22                 is 11:55 a.m.
      23     BY MR. BOGLE:
      24                 Q.        Okay.       Mr. Mahoney, if we
     Golkow Litigation Services                                            Page 172
Case: 1:17-md-02804-DAP Doc #: -1964-33
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       1     can start by going back to Exhibit 7.




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      10                           MR. SCHMIDT:            Objection.
      11                 Characterization.




     Golkow Litigation Services                                            Page 174
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       4                           MR. SCHMIDT:            Same
       5                 objection.          Characterization.




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       1                           MR. SCHMIDT:            Objection.




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       3                           MR. SCHMIDT:            Objection.
       4                 Characterization.




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      15                             (Document marked for
      16                 identification as Exhibit
      17                 MCK-Mahoney-13.)
      18     BY MR. BOGLE:




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       6                           MR. SCHMIDT:            Objection.
       7                 Foundation.




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      14                           MR. SCHMIDT:            Objection.
      15                 Foundation.           Characterization.




     Golkow Litigation Services                                            Page 181
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       7                 Q.        Okay.       I'm going to hand you
       8     now what I'm marking as Exhibit 14.                            Also
       9     numbered as 1.1953.
      10                           (Document marked for
      11                 identification as Exhibit
      12                 MCK-Mahoney-14.)
      13     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 182
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      15                           MR. SCHMIDT:            Object to
      16                 characterization.




      24                           MR. SCHMIDT:            Same
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       1                 objection.          Foundation.
       2     BY MR. BOGLE:



       5     Exhibit 15, also marked as 1.1958.
       6                             (Document marked for
       7                 identification as Exhibit
       8                 MCK-Mahoney-15.)
       9     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 184
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      21                           MR. SCHMIDT:            Object to the
      22                 characterization.




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       7                 Q.        I'm going to hand you what
       8     I'm marking as Exhibit 16.                     Also marked
       9     as 1.1970.
      10                             (Document marked for
      11                 identification as Exhibit
      12                 MCK-Mahoney-16.)
      13     BY MR. BOGLE:
      14                 Q.        This is an article that I
      15     pulled off the internet from the Ledger
      16     titled "Pharmacy Raided by DEA Agents,"
      17     posted November 17, 2006.
      18                           Do you see that?
      19                 A.        Yes.
      20                 Q.        Okay.       And it says -- and
      21     from Lakeland, "A local pharmacy's
      22     license was suspended Thursday after it
      23     was raided by agents from the U.S. Drug
      24     Enforcement Administration."
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       1                           MR. SCHMIDT:            Can I just
       2                 have an ongoing, running objection
       3                 to the questions on this document,
       4                 this unauthenticated document?
       5                           MR. BOGLE:          Okay.
       6     BY MR. BOGLE:
       7                 Q.        "Federal agents, with help
       8     from local law enforcement agencies,
       9     seized several boxes of prescription
      10     drugs from Medcenter Pharmacy located
      11     at" -- and it provides the address in
      12     Lakeland.         And it says, "Agents also
      13     raided a sister store at 4607 Clark
      14     Avenue in Tampa that operated under the
      15     name MediPharm-Rx, Inc."
      16                           Do you see that?
      17                 A.        Yes.




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       7                 Q.        And it says, "Both
       8     pharmacies are owned by a Robert L.
       9     Caddick, whose last known address was in
      10     Oviedo," also in Florida, right?
      11                 A.        Oviedo?        Yeah.
      12                 Q.        And then it says, "Jeannette
      13     Moran, spokeswoman for the DEA's Miami
      14     field office, said that both pharmacies'
      15     licenses to sell controlled substances
      16     have been suspended."                  And then it goes
      17     on to say, "She said the DEA considers
      18     the operation as a whole to be an
      19     imminent danger to public health and
      20     safety."
      21                           Do you see that reference?
      22                 A.        Yes.
      23                 Q.        And she says -- "She said
      24     agents pulled 635,000 doses of
     Golkow Litigation Services                                            Page 188
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       1     prescription medicines from the Tampa
       2     location.         Most of those medicines were
       3     hydrocodone, sold as Vicodin, and
       4     alprazolam sold as Xanax."
       5                           Do you see that?
       6                 A.        Yes.




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      10                           MR. SCHMIDT:            Objection.
      11                 Foundation.



      14     BY MR. BOGLE:
      15                 Q.        Okay.       I'm going to hand you
      16     what I'm marking as 1.1969, also marked
      17     as Exhibit 17.
      18                             (Document marked for
      19                 identification as Exhibit
      20                 MCK-Mahoney-17.)
      21                           MR. SCHMIDT:            Same running
      22                 objection on the authenticity of
      23                 this.
      24                           MR. BOGLE:          Okay.
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       1     BY MR. BOGLE:
       2                 Q.        You see this is an article
       3     from the Tampa Tribune published
       4     March 17, 2008.
       5                           Do you see that?
       6                 A.        Yes.
       7                 Q.        Okay.       On the second page,
       8     in the middle, I'll kind of point to it
       9     if it helps you.              It says, "The DEA also
      10     arrested."
      11                 A.        Okay.
      12                 Q.        It says, "The DEA also
      13     arrested two men tied to a Tampa pharmacy
      14     the agency had targeted in
      15     November 2006."              That's the time frame we
      16     just looked at, right, where they were
      17     raided; is that right?
      18                 A.        Yes.
      19                 Q.        Okay.       And it lists the
      20     first person's name.                 The second name is
      21     "Robert Caddick, 51, of 1007 Eagens
      22     Creek, Oviedo, were arrested on federal
      23     charges of conspiracy to possess with
      24     intent to distribute hydrocodone, an
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       1     opiate nearly equivalent to morphine for
       2     pain relief."
       3                           And it's noted further on
       4     down there that Mr. Caddick was the owner
       5     registered agent of MediPharm-Rx.                          Do you
       6     see that?         It's a couple sentences down
       7     from there.
       8                 A.        I see it.          Yes.




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       1                           MR. SCHMIDT:            Object to
       2                 characterization.




      18                           MR. SCHMIDT:            Object to the
      19                 characterization.




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       5     I'm going to guide you.                   So it should be
       6     Exhibit 10.
       7                 A.        10.
       8                 Q.        It's the biggest one.
       9                 A.        Right.
      10                           MR. SCHMIDT:            It's the big?
      11                           MR. BOGLE:          The biggest
      12                 document.         1943.
      13                           MR. SCHMIDT:            I just wanted
      14                 to get that on the record twice.
      15                 No, the second part.                 Go ahead.
      16                 I'm giving you a hard time.
      17                           MR. BOGLE:          No problem.
      18                 It's easy to do.
      19     BY MR. BOGLE:
      20                 Q.        All right.          So let's go to
      21     Page 6444, on the Bates numbers on the
      22     left.       I think this will address what you
      23     want to look at.
      24                           Okay.       And this is some
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       5                 Q.        Okay.       I'm going to hand
       6     you -- excuse me.
       7                           Let me hand you what I'm
       8     marking as Exhibit 1.1997, also marked as
       9     Exhibit 18.
      10                             (Document marked for
      11                 identification as Exhibit
      12                 MCK-Mahoney-18.)
      13                           MR. BOGLE:          I think I only
      14                 have three of these instead of
      15                 four.       I apologize for that.
      16     BY MR. BOGLE:




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      17                           MR. SCHMIDT:            Objection.
      18                 Foundation.




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      17                           MR. SCHMIDT:            Objection.
      18                 Foundation.
      19                           THE WITNESS:            Can you say
      20                 that again, please?
      21     BY MR. BOGLE:
      22                 Q.        Sure.




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      10                           MR. SCHMIDT:            Objection.
      11                 Speculation.




      18                           MR. SCHMIDT:            Same
      19                 objection.          Speculation.




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      13                           MR. SCHMIDT:            I'll object to
      14                 the speculation.




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       8                           MR. SCHMIDT:            Objection.
       9                 Vague.




      17                           MR. SCHMIDT:            Same
      18                 objection.          Vague.
      19     BY MR. BOGLE:




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      10                 Q.        Okay.       And you are aware
      11     that settlement occurred in 2008, true?
      12                 A.        Yes.
      13                 Q.        Okay.       And as part of that
      14     settlement, McKesson agreed to multiple
      15     things, but one was to pay a fine of
      16     $13,250,000, right?
      17                 A.        Yes.
      18                 Q.        Okay.       And in fairness to
      19     the Lakeland distribution center, it was
      20     for conduct not just involving Lakeland
      21     but involving other distribution centers
      22     too, right?
      23                 A.        Correct.
      24                 Q.        I'm sorry?
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       1                 A.        Yes.
       2                 Q.        Okay.       Have you seen the
       3     settlement agreement from the 2008
       4     settlement?
       5                 A.        Yes.
       6                 Q.        You have?          Okay.
       7                           I want to take a look at a
       8     couple aspects of that with you here.
       9                           I'll hand you what I'm
      10     marking as Exhibit 19, also marked as
      11     Exhibit 1.889.
      12                             (Document marked for
      13                 identification as Exhibit
      14                 MCK-Mahoney-19.)
      15     BY MR. BOGLE:
      16                 Q.        This is titled "Settlement
      17     and Release Agreement and Administrative
      18     Memorandum of Agreement" dated, on the
      19     first page, 2nd day of May, 2008.
      20                           Do you see that?
      21                 A.        Yes.
      22                 Q.        Okay.       So this is a document
      23     that you've seen before, true?
      24                 A.        I believe so.
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       1                 Q.        Okay.       Do you want to -- if
       2     you want to look at something first, just
       3     let me know.
       4                 A.        Yeah, let me just take a --
       5                 Q.        Yeah, go ahead.              Just let me
       6     know when you're ready.
       7                 A.        Okay.
       8                 Q.        Are you familiar with this
       9     document?
      10                 A.        Yes.
      11                 Q.        And so just to sort of
      12     orient ourselves here.                   Under the
      13     background section, first paragraph says,
      14     "Whereas, on August 4, 2006, DEA by its
      15     deputy assistant administrator Joseph T.
      16     Rannazzisi issued an order to show cause,
      17     Order Number 1, to McKesson with respect
      18     to its Lakeland distribution center," and
      19     then it lists the address.
      20                           Do you see that?
      21                 A.        Right.
      22                 Q.        Okay.       And that's the order
      23     to show cause that we've been talking for
      24     the last hour and a half or so, right?
     Golkow Litigation Services                                            Page 214
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       1                 A.        Yes.
       2                 Q.        Okay.       So then if we can
       3     take a look at Bates page ending 1052, do
       4     you see that toward the top, there's a
       5     little H?
       6                 A.        Yes.
       7                 Q.        It says, "McKesson agrees to
       8     pay civil penalties to the United States
       9     of America under 21 U.S.C. 842(c) for
      10     violations of 21 U.S.C. 842-A(5) in the
      11     amount of $13,250,000 in settlement of
      12     claims or potential claims made by the
      13     United States of America for failing to
      14     report suspicious orders of controlled
      15     substance and for failing to report
      16     thefts or significant losses of
      17     controlled substances."
      18                           Do you see that?
      19                 A.        Yes.
      20                 Q.        Okay.       You have a general
      21     understanding that that's why -- those
      22     are the reasons why the fine was incurred
      23     by McKesson, right?
      24                 A.        Yes.
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       1                           MR. SCHMIDT:            Object to the
       2                 characterization.
       3     BY MR. BOGLE:
       4                 Q.        And then if you go back to
       5     Page 1060, you see there's a section
       6     towards the middle of the page, it says,
       7     "The covered conduct shall mean the
       8     following alleged conduct."
       9                           Do you see that?
      10                 A.        Yes.
      11                 Q.        And first of all, I don't
      12     want to go through all six of them.                            You
      13     would acknowledge there are six different
      14     sections here talking about six different
      15     distribution centers at McKesson, true?
      16                           MR. SCHMIDT:            I'm sorry.
      17                 What page are you on?
      18                           MR. BOGLE:          Yeah, 1060
      19                 carrying over to 1061.
      20                           MR. SCHMIDT:            Thank you.
      21     BY MR. BOGLE:
      22                 Q.        My question was simply that
      23     six distribution centers are covered here
      24     in the covered conduct section?
     Golkow Litigation Services                                            Page 216
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       1                 A.        Yes.
       2                 Q.        Okay.       So I want to focus
       3     the one that we've been talking about,
       4     which is Lakeland.                So that's letter B.
       5                 A.        Mm-hmm.
       6                 Q.        So it says, "In
       7     October 2005, McKesson-Lakeland sold
       8     approximately 2.1 million dosage units of
       9     hydrocodone to seven pharmacies in the
      10     Tampa area."            And then it lists them out.
      11                           Do you see that?
      12                 A.        Yes.




      16                 Q.        Okay.       "And failed to report
      17     these sales as suspicious orders to the
      18     DEA when discovered as required by and is
      19     a violation of 21 C.F.R. 1301.74(b) and
      20     21 U.S.C. Section 842-A(5)."
      21                           Do you see that?
      22                 A.        Yes.
      23                 Q.        Okay.       And this is a portion
      24     of the settlement agreement that you're
     Golkow Litigation Services                                            Page 217
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       1     familiar with too, right?
       2                 A.        Yes.
       3                 Q.        Okay.       And this fine of
       4     $13,250,000, more than half of that was
       5     related to the conduct at Lakeland,
       6     right?
       7                 A.        Yes.
       8                 Q.        And specifically, Page 1062,
       9     I think, outlines the numbers.
      10                           So under terms and
      11     conditions, Letter B, it says, "McKesson
      12     shall pay the sum of $7,456,000.                          Payment
      13     shall be made by electronic funds."                            And
      14     it goes on.           And that's related to the
      15     conduct at Lakeland, right, the
      16     $7,456,000 fine, right?
      17                 A.        Yes.
      18                 Q.        Which we can agree is more
      19     than half of the overall fine, right?
      20                 A.        Yes.
      21                 Q.        Also the highest fine
      22     allocated to any specific distribution
      23     center, right?
      24                 A.        Yes.
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      20                 Q.        Okay.       Let me hand you what
      21     I'm marking as Exhibit 20, also marked as
      22     1.1950.
      23                             (Document marked for
      24                 identification as Exhibit
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       1                 MCK-Mahoney-20.)
       2     BY MR. BOGLE:




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      24                           MR. SCHMIDT:            Objection.
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       1                 Foundation.




      18                           MR. SCHMIDT:            Object to the
      19                 characterization.




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      16                           MR. SCHMIDT:            Object to the
      17                 characterization.
      18     BY MR. BOGLE:




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      10                           MR. SCHMIDT:            Objection.
      11                 Characterization.




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      17                           MR. SCHMIDT:            Object to the
      18                 characterization.




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       5     BY MR. BOGLE:
       6                 Q.        Okay.
       7                           MR. BOGLE:          I'm actually
       8                 switching to a whole other topic
       9                 area.       This might be a decent time
      10                 to break for lunch if you guys are
      11                 okay with it.
      12                           MR. SCHMIDT:            Sure.
      13                           How much time have we been
      14                 on the record for?
      15                           THE VIDEOGRAPHER:               Sure.
      16                 We've used up 2 hours 58 minutes.
      17                           The time is 12:42 p.m.
      18                 Going off the record.
      19                                   -    -     -
      20                              (Lunch break.)
      21                                   -    -     -
      22                           THE VIDEOGRAPHER:               We are
      23                 back on record.              The time is
      24                 1:40 p.m.
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       1                                   -    -     -
       2            A F T E R N O O N                 S E S S I O N
       3                                   -    -     -
       4                           EXAMINATION (Cont'd.)
       5                                   -    -     -
       6     BY MR. BOGLE:
       7                 Q.        Okay.       Mr. Mahoney, we are
       8     back from lunch.              I wanted to shift gears
       9     a little bit to another topic.                        We talked
      10     about earlier in the deposition that you
      11     became the director of regulatory affairs
      12     in January 2008, true?
      13                 A.        Yes.




      20                 Q.        Okay.       And was that a
      21     promotion for you to move from
      22     distribution manager to director of
      23     regulatory affairs?
      24                 A.        It was a lateral move.
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      11                           MR. SCHMIDT:            Object to the
      12                 characterization.
      13     BY MR. BOGLE:



      16                           MR. SCHMIDT:            Go ahead.         I
      17                 cut off your question.                   You might
      18                 want to --
      19                           MR. BOGLE:          Yeah, let me
      20                 re-ask the question.
      21     BY MR. BOGLE:




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       2                           MR. SCHMIDT:            And that's
       3                 where I object to the
       4                 characterization.




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       9                 Q.        Okay.       I'm going to hand you
      10     what's being marked as Exhibit 1.1675,
      11     also marked as Exhibit 21.
      12                             (Document marked for
      13                 identification as Exhibit
      14                 MCK-Mahoney-21.)
      15     BY MR. BOGLE:
      16                 Q.        Okay.       So to orient you to
      17     the document first, and we'll go from




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      17                           MR. SCHMIDT:            Can I say
      18                 given the header on this, I don't
      19                 know how -- I think this has been
      20                 used in prior depositions.
      21                           MR. BOGLE:          I think it has.
      22                           MR. SCHMIDT:            I don't know
      23                 how we've been using it.                    I'm just
      24                 going to make an objection and
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       1                 I'll ask it be a running objection
       2                 given that this was prepared for
       3                 settlement purposes.                 I don't know
       4                 that we've sorted that issue out.
       5                 I think we can sort it out later.
       6                 If I could make a running
       7                 objection on that.
       8                           MR. BOGLE:          That's fine.
       9     BY MR. BOGLE:
      10                 Q.        Let me get back to the
      11     question and make sure we are on the same




      19                 Q.        I'm going to walk you to a
      20     place that I don't think is going to be
      21     confusing.          So I have to kind of set the
      22     table here.
      23                 A.        Sure.


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       5                           MR. SCHMIDT:            Object to
       6                 characterization.




      12     BY MR. BOGLE:
      13                 Q.        Okay.       I'm going to hand you
      14     what I'm marking as 1.1960, also
      15     Exhibit 22 to your deposition.
      16                             (Document marked for
      17                 identification as Exhibit
      18                 MCK-Mahoney-22.)
      19     BY MR. BOGLE:
      20                 Q.        Okay.       This is a string of
      21     e-mails, we're going to start at the
      22     bottom.        And actually I think it's all
      23     pretty much on the first page.
      24                 A.        Okay.
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      11                 Q.        Okay.       Steve Miller is noted
      12     to be VPDO of the south region.                         Do you
      13     know what VPDO stands for?
      14                 A.        Yes.
      15                 Q.        What does that stand for?
      16                 A.        Vice president distribution
      17     operations.
      18                 Q.        Okay.       Would that be sort of
      19     one step below Don Walker on the
      20     hierarchy at McKesson on the operation
      21     side?
      22                 A.        He -- he reported to Don.
      23                 Q.        Okay.       And he was VPDO for
      24     the south region which was the same
     Golkow Litigation Services                                            Page 241
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       1     region you had regulatory responsibility
       2     for during this time, right?




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      22                           MR. SCHMIDT:            Object to the
      23                 characterization.


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      24                           MR. SCHMIDT:            Object to
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       1                 characterization.




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       5                 Q.        Okay.       I'm going to hand you
       6     what I'm marking Exhibit 1.1942, also
       7     marked as Exhibit 23.
       8                             (Document marked for
       9                 identification as Exhibit
      10                 MCK-Mahoney-23.)
      11     BY MR. BOGLE:




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      17                 A.        Tom was the vice
      18     president/general manager in Birmingham.
      19                 Q.        Okay.       The term vice
      20     president and general manager, what does
      21     that person generally do at McKesson?
      22     What is that role meant to do?
      23                 A.        He is -- the director of
      24     operations would report to him as well as
     Golkow Litigation Services                                            Page 257
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       1     the sales personnel.
       2                 Q.        So that position is more on
       3     the -- on the -- it's sort of a mix
       4     between the operation and sales side?
       5                 A.        Yes.




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      21                           MR. SCHMIDT:            Object to
      22                 characterization.




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      22                           MR. SCHMIDT:            Object to
      23                 characterization.


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      18                           MR. SCHMIDT:            Object to
      19                 characterization.




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                                                                               Review



       2                           MR. SCHMIDT:            Objection.
       3                 Foundation.




     Golkow Litigation Services                                            Page 264
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 266Confidentiality
                                                           of 607. PageID #: 164978
                                                                               Review




      10                           MR. SCHMIDT:            Objection.
      11                 Foundation.




     Golkow Litigation Services                                            Page 265
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 267Confidentiality
                                                           of 607. PageID #: 164979
                                                                               Review



       2                           MR. SCHMIDT:            Same -- same
       3                 objection.          Asked and answered.




      14                           MR. SCHMIDT:            Objection.
      15                 Foundation.




     Golkow Litigation Services                                            Page 266
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 268Confidentiality
                                                           of 607. PageID #: 164980
                                                                               Review




       5                           MR. SCHMIDT:            Objection.
       6                 Foundation.




     Golkow Litigation Services                                            Page 267
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      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 269Confidentiality
                                                           of 607. PageID #: 164981
                                                                               Review




       9                           MR. SCHMIDT:            Objection.
      10                 Foundation.




     Golkow Litigation Services                                            Page 268
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                                               Further 270Confidentiality
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     Golkow Litigation Services                                            Page 269
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      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 271Confidentiality
                                                           of 607. PageID #: 164983
                                                                               Review




      13                           MR. SCHMIDT:            Objection.
      14                 Vague.




     Golkow Litigation Services                                            Page 270
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      Highly Confidential               Filed:
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                                               Further 272Confidentiality
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                                                                               Review




      12                 Q.        Okay.       All right.
      13                           Okay.       I'm going to hand you
      14     what's marked as 1.7195, also marked as
      15     Exhibit 24.
      16                             (Document marked for
      17                 identification as Exhibit
      18                 MCK-Mahoney-24.)
      19     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 271
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                                               Further 273Confidentiality
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                                                                               Review




     Golkow Litigation Services                                            Page 272
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      Highly Confidential               Filed:
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                                               Further 274Confidentiality
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                                                                               Review




     Golkow Litigation Services                                            Page 273
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 274
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      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 276Confidentiality
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                                                                               Review

       1                           MR. SCHMIDT:            Object to
       2                 characterization.




     Golkow Litigation Services                                            Page 275
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      Highly Confidential               Filed:
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     Golkow Litigation Services                                            Page 279
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     Golkow Litigation Services                                            Page 280
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     Golkow Litigation Services                                            Page 281
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      Highly Confidential               Filed:
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                                               Further 284Confidentiality
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                                                                               Review



       2                           MR. SCHMIDT:            Objection.
       3                 Foundation.




      22                           MR. SCHMIDT:            Object to
      23                 characterization.


     Golkow Litigation Services                                            Page 283
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      Highly Confidential               Filed:
                                  Subject   to07/23/19
                                               Further 285Confidentiality
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                                                                               Review




      21                           MR. SCHMIDT:            Objection.
      22                 Foundation.




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     Golkow Litigation Services                                            Page 285
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       3                           MR. SCHMIDT:            Object to
       4                 characterization.




     Golkow Litigation Services                                            Page 286
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                                                                               Review




       5                           MR. SCHMIDT:            Object to
       6                 characterization.               Asked and
       7                 answered.



      10     BY MR. BOGLE:
      11                 Q.        Okay.       I'm going to hand you
      12     what I'm marking as Exhibit 25.                         Also
      13     marked as 1.1962.
      14                             (Document marked for
      15                 identification as Exhibit
      16                 MCK-Mahoney-25.)
      17     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 287
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      14                           Do you see that?
      15                 A.        Yes.
      16                 Q.        Have you ever seen this
      17     document before?
      18                 A.        I'm not sure.            Do you have a
      19     date on this?




     Golkow Litigation Services                                            Page 288
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     Golkow Litigation Services                                            Page 289
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     Golkow Litigation Services                                            Page 290
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     Golkow Litigation Services                                            Page 291
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      18                           MR. SCHMIDT:            Object to
      19                 characterization.




     Golkow Litigation Services                                            Page 292
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      13                           MR. SCHMIDT:            Object to
      14                 characterization.
      15     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 293
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                                                           of 607. PageID #: 165007
                                                                               Review

       1                           MR. SCHMIDT:            Object to
       2                 characterization.




      19                 Q.        Okay.       Well, maybe we'll
      20     narrow down a few of those issues then.
      21     I'll mark as Exhibit 26, also marked as
      22     Exhibit 1.1743.
      23                             (Document marked for
      24                 identification as Exhibit
     Golkow Litigation Services                                            Page 294
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       1                 MCK-Mahoney-26.)
       2     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 295
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     Golkow Litigation Services                                            Page 297
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      14                           MR. SCHMIDT:            Objection.
      15                 Foundation.




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      16                           MR. BOGLE:          I'm done with my
      17                 questions.          Mr. Bowden is going to
      18                 have some additional follow-up.
      19                 Maybe we can take a break and
      20                 switch around.             I'm done with
      21                 mine.
      22                           MR. SCHMIDT:            Are we at four
      23                 hours now?
      24                           THE VIDEOGRAPHER:               We are at
     Golkow Litigation Services                                            Page 300
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       1                 4 hours and 3 minutes.
       2                           Shall we go off the record.
       3                           MR. BOGLE:           Yes.
       4                           THE VIDEOGRAPHER:               The time
       5                 2:45 p.m.         Going off the record.
       6                           (Short break.)
       7                           THE VIDEOGRAPHER:               We are
       8                 back on the record.                The time is
       9                 3:04 p.m.
      10                                  -    -    -
      11                              EXAMINATION
      12                                  -    -    -
      13     BY MR. BOWDEN:
      14                 Q.        Good afternoon, Mr. Mahoney.
      15                 A.        What's going on?
      16                 Q.        My name is Wes Bowden.                   I'm
      17     going to ask you a couple questions and
      18     finish out your deposition.
      19                 A.        Okay.
      20                 Q.        Before we left off the break
      21     you talked with my partner about some of
      22     the larger issues with the CSMP.
      23                           And one thing that I was
      24     going to ask you about -- trying to get
     Golkow Litigation Services                                            Page 301
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       1     my computer booted up here.                      You had




      11                           MR. SCHMIDT:            Object to the
      12                 characterization.




      16     BY MR. BOWDEN:
      17                 Q.        Okay.




     Golkow Litigation Services                                            Page 302
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                                               Further 304Confidentiality
                                                           of 607. PageID #: 165016
                                                                               Review




      10                           MR. SCHMIDT:            Can I just
      11                 remind the folks on the phone to
      12                 go on mute, including people who
      13                 are typing and shuffling papers.
      14     BY MR. BOWDEN:




      20                 Q.        Okay.       I'm going to hand you
      21     what I will mark as Exhibit 27.                         It's
      22     RP-1.1680.
      23                           MR. SCHMIDT:            Again, can I
      24                 ask people on the phone to go on
     Golkow Litigation Services                                            Page 303
Case: 1:17-md-02804-DAP Doc #: -1964-33
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       1                 mute, including whoever was just
       2                 typing.
       3                           (Document marked for
       4                 identification as Exhibit
       5                 Mahoney-27.)
       6     BY MR. BOWDEN:
       7                 Q.        I apologize.            I did not put
       8     the sticker on yours.                  I'll take that
       9     back from you.




     Golkow Litigation Services                                            Page 304
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     Golkow Litigation Services                                            Page 305
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     Golkow Litigation Services                                            Page 306
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      19                           MR. SCHMIDT:            Object to
      20                 characterization.




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     Golkow Litigation Services                                            Page 308
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      14                           MR. SCHMIDT:            Object to the
      15                 characterization.




     Golkow Litigation Services                                            Page 309
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       4                           MR. SCHMIDT:            Object to the
       5                 characterization.




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       4                           MR. SCHMIDT:            Object to the
       5                 characterization.




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      15                           MR. SCHMIDT:            Object to
      16                 characterization.




     Golkow Litigation Services                                            Page 312
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                                               Further 315Confidentiality
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       1                           MR. SCHMIDT:            Objection.
       2                 Foundation.




      13                 Q.        Going to mark for you, this
      14     will be Exhibit 28 to your deposition.
      15     It's our P-1.1783.
      16                           (Document marked for
      17                 identification as Exhibit
      18                 Mahoney-28.)
      19     BY MR. BOWDEN:
      20                 Q.        Do you remember getting this




      24     Do you recall reading this?
     Golkow Litigation Services                                            Page 314
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       1                 A.        I'd have to take a look at
       2     it.
       3                 Q.        Okay.       And we're going to go
       4     through it.
       5                 A.        Okay.




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      21                           MR. SCHMIDT:            Objection.
      22                 Foundation.




     Golkow Litigation Services                                            Page 317
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                                               Further 320Confidentiality
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       6                 Q.        And Conroe at the time, when
       7     we first started the deposition, you had
       8     listed six different distribution centers
       9     in which you were overseeing.                        And Conroe
      10     was one of them, right?
      11                 A.        Yes.      Yes.




     Golkow Litigation Services                                            Page 319
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                                                                               Review




      21                 Q.        In 2011, how many
      22     distribution centers did McKesson have?
      23                 A.        I'm not sure.
      24                 Q.        You think about 30?
     Golkow Litigation Services                                            Page 324
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       1                 A.        Approximately 30.               I would
       2     say 28 to 30.
       3                 Q.        28 to 30.          And of those 28




      17                           MR. SCHMIDT:            Object to the
      18                 characterization.




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      22     BY MR. BOWDEN:
      23                 Q.        What was Mr. Walker's
      24     position in the company?                    He was a senior
     Golkow Litigation Services                                            Page 326
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                                                                               Review

       1     vice president, right?
       2                 A.        Yes.
       3                 Q.        And he was the person that
       4     you answered to?
       5                 A.        Yes.




     Golkow Litigation Services                                            Page 327
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      14     right.       I'm handing you what I'm marking
      15     as Exhibit 29 to your deposition.
      16                           (Document marked for
      17                 identification as Exhibit
      18                 Mahoney-29.)
      19     BY MR. BOWDEN:




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                                                                               Review




      13                           MR. SCHMIDT:            Objection.
      14                 Foundation.
      15     BY MR. BOWDEN:
      16                 Q.        Is that correct?
      17                 A.        I think there was --
      18                           MR. SCHMIDT:            Same
      19                 objection.




     Golkow Litigation Services                                            Page 331
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     Golkow Litigation Services                                            Page 332
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       7                           MR. SCHMIDT:            Object to the
       8                 characterization.
       9     BY MR. BOWDEN:




     Golkow Litigation Services                                            Page 333
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      18                           MR. SCHMIDT:            Object to the
      19                 characterization.




     Golkow Litigation Services                                            Page 334
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      24                           MR. SCHMIDT:            Object to
     Golkow Litigation Services                                            Page 335
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       1                 characterization.




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      18                           MR. SCHMIDT:            Objection.
      19                 Foundation.




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                                                           of 607. PageID #: 165051
                                                                               Review




      14                           MR. SCHMIDT:            Objection.
      15                 Compound.         Characterization.
      16     BY MR. BOWDEN:
      17                 Q.        Isn't that what you
      18     testified to earlier?
      19                 A.        Could you repeat that?
      20                           MR. SCHMIDT:            Same
      21                 objection.
      22     BY MR. BOWDEN:




     Golkow Litigation Services                                            Page 338
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     Golkow Litigation Services                                            Page 339
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     Golkow Litigation Services                                            Page 341
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      17                           MR. SCHMIDT:            Objection.
      18                 Foundation.




     Golkow Litigation Services                                            Page 342
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       2                           MR. SCHMIDT:            Object to the
       3                 characterization, foundation.




      15                           MR. SCHMIDT:            Object to the
      16                 characterization.




     Golkow Litigation Services                                            Page 344
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      24                           MR. SCHMIDT:            Object to the
     Golkow Litigation Services                                            Page 345
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       1                 characterization.




      13                           MR. SCHMIDT:            Just a second.
      14                 Were you finished with your
      15                 answer?
      16                           THE WITNESS:            No, not yet.
      17     BY MR. BOWDEN:
      18                 Q.        I'm sorry, go ahead, sir.




     Golkow Litigation Services                                            Page 346
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      13     BY MR. BOWDEN:
      14                 Q.        Okay.       You can go ahead and
      15     set that one aside, sir.
      16                           I'm going to mark for you
      17     what will be Exhibit Number 30 to your
      18     deposition.           Going to be P-1.1936.
      19                           (Document marked for
      20                 identification as Exhibit
      21                 Mahoney-30.)
      22     BY MR. BOWDEN:




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     Golkow Litigation Services                                            Page 348
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      13                           MR. SCHMIDT:            Object to the
      14                 characterization.




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       1                           MR. SCHMIDT:            Object to the
       2                 characterization.




      19                           MR. SCHMIDT:            Object to
      20                 characterization.




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      23                           MR. SCHMIDT:            Object to the
      24                 characterization.
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                                                                               Review

       1                           THE WITNESS:            I'm curious
       2                 about what you're referring to.
       3     BY MR. BOWDEN:




      11                 Q.        Okay.       I'll hand you what
      12     I'm marking Exhibit 31.                   It's P1.1979.
      13                           (Document marked for
      14                 identification as Exhibit
      15                 Mahoney-31.)
      16     BY MR. BOWDEN:
      17                 Q.        Why don't you go ahead and
      18     flip to the last page of this document.




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      18                           MR. SCHMIDT:            Objection.
      19                 Foundation.




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       4                           MR. SCHMIDT:            Objection.
       5                 Foundation.
       6                           THE WITNESS:            Can you repeat
       7                 that again?
       8     BY MR. BOWDEN:




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       7                 Q.        How many distribution
       8     centers are there as we sit here today?
       9                 A.        My estimate would be around
      10     28 plus or minus one or two.




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       8                           MR. SCHMIDT:            Object to the
       9                 characterization.




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      17                           MR. SCHMIDT:            Objection.
      18                 Characterization.




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       9                           MR. SCHMIDT:            Objection.
      10                 Speculation.




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      21                           MR. SCHMIDT:            Objection.
      22                 Vague.




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      24                           MR. SCHMIDT:            Objection.
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       1                 Object to characterization.                      I'll
       2                 move to strike the preamble.
       3                           THE WITNESS:            What's the
       4                 question?
       5     BY MR. BOWDEN:
       6                 Q.        I'll rephrase it since
       7     there's an objection.




      16                           MR. SCHMIDT:            Objection.
      17                 Foundation.




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      16                           MR. SCHMIDT:            Objection.
      17                 Characterization.




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      13                           MR. SCHMIDT:            Object to
      14                 characterization.




      21                           MR. BOWDEN:           I'm about to
      22                 switch gears.            Do you want to take
      23                 a break?         We went 56 minutes.
      24                           MR. SCHMIDT:            Yeah, I just
     Golkow Litigation Services                                            Page 368
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       1                 figure -- don't want to be here
       2                 late into the night.
       3                           MR. BOWDEN:           That's fine.            I
       4                 just want to get some water.
       5                           THE VIDEOGRAPHER:               Okay.
       6                 Stand by, please.               The time is
       7                 4:01 p.m.         Going off the record.
       8                           (Brief recess.)
       9                           THE VIDEOGRAPHER:               We are
      10                 back on the record.                The time is
      11                 4:16 p.m.
      12     BY MR. BOWDEN:
      13                 Q.        All right, Mr. Mahoney.




     Golkow Litigation Services                                            Page 369
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       4                 Q.        Okay.       Well, just in
       5     general, though, having controls in place
       6     to make sure that opioids get into the
       7     right hands is a good thing, right?
       8                 A.        Yes.
       9                 Q.        It's a good thing because
      10     opioids can have a dramatic impact on
      11     people's lives, addiction, injury,
      12     potentially death, right?



      15                 Q.        Right.       But that's not what
      16     the DEA was concerned with, was it?                            It
      17     wasn't people such as yourself who might
      18     take it for a brief period of time and
      19     then let go of it.                It was for the
      20     epidemic that had been brewing since the
      21     2000s, right?
      22                           MR. SCHMIDT:            Objection.
      23                           THE WITNESS:            I've had
      24                 interactions actually recently
     Golkow Litigation Services                                            Page 370
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       1                 with the DEA around Hurricane
       2                 Michael in which they wanted to
       3                 make sure that people had access
       4                 to their opioids.
       5     BY MR. BOWDEN:
       6                 Q.        Okay.       And -- okay.            But
       7     you're talking about something that's
       8     going to be an act of God or a natural
       9     disaster, making sure that the support is
      10     there so that people get medication who
      11     were prescribed medication and should be
      12     legitimately taking it, right?
      13                 A.        I'm sorry.          Can you repeat
      14     the last --
      15                 Q.        What you're talking about
      16     anecdotally is that there might be very
      17     narrow circumstances in which the DEA
      18     might want drugs to go out there to make
      19     sure that people with legitimate medical
      20     needs, that their needs are met, correct?
      21                 A.        I think -- I think that the
      22     DEA understands that it's gray in terms
      23     of determining, especially from a
      24     distributor's point of view, how hard it
     Golkow Litigation Services                                            Page 371
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       1     is to determine whether something is for
       2     legitimate medical purpose or it's for
       3     some other illicit purpose.                      And that's
       4     why we do what we do.
       5                 Q.        Okay.       Well, I'm going to
       6     hand you what I've marked as Exhibit 32
       7     to your deposition.                This would be
       8     P1.1845.
       9                           (Document marked for
      10                 identification as Exhibit
      11                 Mahoney-32.)
      12     BY MR. BOWDEN:
      13                 Q.        And you know that McKesson
      14     also distributes methadone, right?
      15                 A.        Yes.
      16                 Q.        And in 2008, McKesson was
      17     distributing methadone, right?
      18                 A.        Yes.




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      14                 Q.        Right.       So let me hand you
      15     what I'm marking as Exhibit 33, which
      16     will be P1.1848.
      17                           (Document marked for
      18                 identification as Exhibit
      19                 Mahoney-33.)
      20                           MR. SCHMIDT:            Can we put
      21                 this to the side, or do you want
      22                 him to keep it?
      23                           MR. BOWDEN:           He can probably
      24                 put it to the side.                That's fine.
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       1     BY MR. BOWDEN:
       2                 Q.        Now, in January of 2008,
       3     were you still the distribution center
       4     manager for Lakeland, Florida?




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      10                           MR. BOWDEN:           In fact,
      11                 Michael, can we do a split screen
      12                 with the top paragraph of the last
      13                 document?
      14                           If you can put underneath
      15                 that, yeah, put that at the top
      16                 for our witness to see.




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      19                           MR. BOWDEN:           And can you put
      20                 the block quote from the other
      21                 paragraph from the other exhibit



      24                           That's good enough.
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       1     BY MR. BOWDEN:
       2                 Q.        While he's doing that we'll
       3     go ahead and read it.




      21                           MR. SCHMIDT:            Objection.
      22                 Compound.
      23     BY MR. BOWDEN:
      24                 Q.        That's what this document
     Golkow Litigation Services                                            Page 379
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       1     says?
       2                 A.        I think what's happened --
       3                           MR. SCHMIDT:            Same
       4                 objection.




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      10                           MR. SCHMIDT:            Objection to
      11                 the characterization.




      22                           MR. SCHMIDT:            Object to --
      23                 object to the characterization.
      24     BY MR. BOWDEN:
     Golkow Litigation Services                                            Page 381
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       7                           MR. SCHMIDT:            Object to the
       8                 characterization.




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       3                           MR. SCHMIDT:            Objection.
       4                 Form.




      23                           MR. SCHMIDT:            Object to
      24                 characterization.
     Golkow Litigation Services                                            Page 385
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      17                           MR. SCHMIDT:            Object to
      18                 characterization.




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                                                                               Review




       6     BY MR. BOWDEN:
       7                 Q.        Okay.       All right.          I'm going
       8     to hand you what I will mark as 34,
       9     Exhibit 34 to your deposition.                        That will
      10     be P-1.1959.
      11                           (Document marked for
      12                 identification as Exhibit
      13                 Mahoney-34.)
      14                           MR. SCHMIDT:            Sorry.
      15                           MR. BOWDEN:           No problem.
      16     BY MR. BOWDEN:




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      Highly Confidential               Filed:
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                                               Further 389Confidentiality
                                                           of 607. PageID #: 165101
                                                                               Review




      12                           MR. SCHMIDT:            Object to
      13                 characterization.




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      Highly Confidential               Filed:
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                                               Further 390Confidentiality
                                                           of 607. PageID #: 165102
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     Golkow Litigation Services                                            Page 389
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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                                               Further 391Confidentiality
                                                           of 607. PageID #: 165103
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Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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                                               Further 392Confidentiality
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                                  Subject   to07/23/19
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      Highly Confidential               Filed:
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                                               Further 396Confidentiality
                                                           of 607. PageID #: 165108
                                                                               Review




       6                           MR. SCHMIDT:            Objection.
       7                 Compound.
       8                           THE WITNESS:            What's the
       9                 question?
      10     BY MR. BOWDEN:




     Golkow Litigation Services                                            Page 395
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      Highly Confidential               Filed:
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                                               Further 397Confidentiality
                                                           of 607. PageID #: 165109
                                                                               Review




      17                           MR. SCHMIDT:            Object to
      18                 speculation.




     Golkow Litigation Services                                            Page 396
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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      Highly Confidential               Filed:
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                                               Further 400Confidentiality
                                                           of 607. PageID #: 165112
                                                                               Review

       1                           MR. SCHMIDT:            Objection.
       2                 Foundation.




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      Highly Confidential               Filed:
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Case: 1:17-md-02804-DAP Doc #: -1964-33
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                                               Further 402Confidentiality
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      16                 Q.        Gotcha.        You mentioned
      17     Mallinckrodt.            I'm going to show you
      18     P-1.1697.
      19                           (Document marked for
      20                 identification as Exhibit
      21                 Mahoney-35.)
      22     BY MR. BOWDEN:
      23                 Q.        That should be Exhibit
      24     Number 35, which is P-1.1697.
     Golkow Litigation Services                                            Page 401
Case: 1:17-md-02804-DAP Doc #: -1964-33
      Highly Confidential               Filed:
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       6     And that is a manufacturer of opioids,
       7     correct?
       8                 A.        Mallinckrodt, yes.
       9                 Q.        Okay.       And they're a
      10     supplier -- or rather, McKesson is a
      11     purchaser of Mallinckrodt opioids,
      12     correct, for distribution?
      13                 A.        Yes.




     Golkow Litigation Services                                            Page 402
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                                               Further 407Confidentiality
                                                           of 607. PageID #: 165119
                                                                               Review




      13                           MR. SCHMIDT:            Objection.
      14                 Asked and answered.




      24                           MR. SCHMIDT:            Objection.
     Golkow Litigation Services                                            Page 406
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      Highly Confidential               Filed:
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                                                                               Review

       1                 Vague.




      15                           MR. SCHMIDT:            Objection.
      16                 Vague.




     Golkow Litigation Services                                            Page 407
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       8                           MR. SCHMIDT:            Objection.
       9                 Foundation.




     Golkow Litigation Services                                            Page 409
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                                                                               Review




      21                           MR. SCHMIDT:            Objection.
      22                 Foundation.
      23                           THE WITNESS:            I -- and I
      24                 think --
     Golkow Litigation Services                                            Page 410
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      Highly Confidential               Filed:
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                                               Further 412Confidentiality
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                                                                               Review

       1     BY MR. BOWDEN:
       2                 Q.        I'm not asking the context
       3     of this e-mail.
       4                           MR. SCHMIDT:            Let him finish
       5                 his answer, please.                I think he
       6                 gets to answer your question.
       7                           You can answer the question.




      23                           MR. SCHMIDT:            Objection.
      24                 Vague.
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       7                 Q.        Okay.       Switching over to --
       8     I'll hand you what I'm marking as
       9     Exhibit Number 36.                P-1.1990.
      10                           (Document marked for
      11                 identification as Exhibit
      12                 Mahoney-36.)
      13     BY MR. BOWDEN:




      19                           MR. SCHMIDT:            Object to
      20                 characterization.
      21     BY MR. BOWDEN:




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                                                                               Review




      19                 A.        I'll agree with you what?
      20     I'm sorry.
      21                 Q.        Are you having trouble
      22     hearing me or just understanding the
      23     question?
      24                 A.        It was a long question and I
     Golkow Litigation Services                                            Page 416
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      Highly Confidential               Filed:
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       1     lost the train.
       2                 Q.        All right.          I'll break it
       3     down for you.




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      Highly Confidential               Filed:
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      23                 Q.        Okay.       You can set that one
      24     aside.
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       1                           MR. BOWDEN:           Off the record
       2                 real quick.           Can you say the time.
       3                           THE VIDEOGRAPHER:
       4                 44 minutes on the record.                     And
       5                 total 5 hours and 46 minutes.
       6                           MR. SCHMIDT:            That's not
       7                 correct.         We've been going since
       8                 4:01.
       9                           THE VIDEOGRAPHER:               You mean
      10                 the time on the record?
      11                           MR. SCHMIDT:            This last
      12                 break, we've been going since
      13                 4:01.       It was the wrong time down.
      14                           MR. BOWDEN:           I just wanted
      15                 to use full time.               I'm not asking
      16                 to take a break.
      17                           MR. SCHMIDT:            Maybe I wrote
      18                 down the wrong time.                 But I
      19                 thought we'd been going for six
      20                 hours.
      21                           THE VIDEOGRAPHER:               We've
      22                 been on the record for 45 minutes.
      23                 And the record on the camera is
      24                 five hours and 46 minutes.
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       1                           Should I stop the camera?
       2                           MR. SCHMIDT:            No, let's stay
       3                 on the record.             Unless you want
       4                 to --
       5                           MR. BOWDEN:           No, I just
       6                 asked to go off to get a count.
       7                           MR. SCHMIDT:            I might
       8                 have -- just to be clear, I might
       9                 have written down the wrong time.
      10                           THE VIDEOGRAPHER:               No
      11                 problem.
      12                           MR. SCHMIDT:            It's just the
      13                 extra 15 minutes at this time of
      14                 day, it felt like it crushed my
      15                 soul.       So I had to react.
      16                           MR. BOWDEN:           I'll withhold
      17                 the comments on the soul.
      18                           MR. SCHMIDT:            That comes in
      19                 spades, my friend.
      20                           MR. BOWDEN:           I'll tell you
      21                 what, let's pause for a second.
      22                 I'm cutting down some documents.
      23                 Not to -- I'm not going to leave
      24                 or anything.           Go off the record
     Golkow Litigation Services                                            Page 420
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       1                 for a second.
       2                           THE VIDEOGRAPHER:               The time
       3                 is 5:02 p.m.           Off the record.
       4                           (Short break.)
       5                           THE VIDEOGRAPHER:               The time
       6                 is 5:05 p.m.           Back on the record.
       7     BY MR. BOWDEN:
       8                 Q.        Sir, you're familiar with
       9     the HDMA, correct?
      10                 A.        Yes.
      11                 Q.        And that was an industry
      12     organization in which McKesson was a
      13     member?
      14                 A.        Yes.
      15                 Q.        All right.          And that
      16     industry trade group -- is that fair to
      17     call it an industry trade group?
      18                 A.        Yes.
      19                 Q.        -- helped to develop or had
      20     developed its own guidelines for
      21     monitoring of suspicious ordering; is
      22     that right?
      23                 A.        I think they had worked with
      24     members in order to collect some best
     Golkow Litigation Services                                            Page 421
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       1     practices, that kind of thing.




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       3                 Q.        I'm going to hand you what
       4     I'm marking as Exhibit Number 37,
       5     P1.1941.
       6                           (Document marked for
       7                 identification as Exhibit
       8                 Mahoney-37.)
       9     BY MR. BOWDEN:




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                                                           of 607. PageID #: 165138
                                                                               Review




       8                           MS. McNAMARA:            Objection to
       9     form.
      10                           MR. SCHMIDT:            You can still
      11                 answer.        Go ahead.




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      14                           MR. SCHMIDT:            Object to
      15                 characterization.




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      22                           MR. SCHMIDT:            Do you want to
      23                 review it?
      24                           THE WITNESS:            Yeah, let me
     Golkow Litigation Services                                            Page 429
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       1                 review.
       2     BY MR. BOWDEN:
       3                 Q.        Let me know when you get to
       4     Page 5.
       5                 A.        I'm on Page 5.




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      10                           MR. SCHMIDT:            Objection.
      11                 Speculation.




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       6                 Q.        Okay.       I'm going to hand you
       7     what I will mark as Exhibit Number 38,
       8     which is P-1.1806.
       9                           (Document marked for
      10                 identification as Exhibit
      11                 Mahoney-38.)
      12     BY MR. BOWDEN:




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      19                           MR. SCHMIDT:            Objection to
      20                 the characterization.




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      21                           MR. SCHMIDT:            Object to
      22                 characterization.




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      24                           MR. SCHMIDT:            Object to
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       1                 characterization.




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      10                           MR. SCHMIDT:            Objection.
      11                 Mischaracterization.




      18     BY MR. BOWDEN:
      19                 Q.        All right.          Sir, I will hand
      20     you what I will mark as Exhibit Number 39
      21     to your deposition.                P-1.1971.
      22                           (Document marked for
      23                 identification as Exhibit
      24                 Mahoney-39.)
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       1     BY MR. BOWDEN:




      19                           MR. SCHMIDT:            Objection to
      20                 form.




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       5                           (Brief white noise
       6     interference.)
       7                           MR. SCHMIDT:            I think the
       8                 reporter may not have gotten it.
       9                           THE COURT REPORTER:                 Yeah, I
      10                 didn't want to ask you to repeat.
      11                           MR. SCHMIDT:            And I wasn't
      12                 jumping on your question, but I
      13                 could just see...
      14                           MR. BOWDEN:           That's okay.
      15                 Let me re-ask it then.
      16     BY MR. BOWDEN:




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       1                           MR. SCHMIDT:            Let him finish
       2                 his answer, please.




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      11                           MR. SCHMIDT:            Objection to
      12                 the assumption.




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      15                           MR. SCHMIDT:            Object to the
      16                 characterization.




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       6                           MR. SCHMIDT:            Objection to
       7                 the characterization.




      20                 Q.        I'll hand you what I'll mark
      21     as Exhibit Number 40.
      22                           (Document marked for
      23                 identification as Exhibit
      24                 Mahoney-40.)
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       1                           MR. BOWDEN:           Let me find an
       2                 extra copy here.              I only have the
       3                 one.
       4                           MR. SCHMIDT:            You don't
       5                 have more?
       6                           Thank you.          Appreciate it.
       7     BY MR. BOWDEN:




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      11                           Do you see that?
      12                 A.        Yes.
      13                           MR. SCHMIDT:            Did you mean
      14                 to give him a highlighted copy?
      15                           MR. BOWDEN:           Absolutely not.
      16                           MR. SCHMIDT:            Okay.       I just
      17                 saw that.         Why don't we just move
      18                 the sticker over if you want.                       You
      19                 can give me a clean copy because I
      20                 already started writing on mine.
      21                           Do you have a clean copy
      22                 that you can give us back?
      23                           MR. BOWDEN:           I appreciate
      24                 the candor.
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       1                           MR. SCHMIDT:            All right.          He
       2                 was on Page 11.
       3                           MR. BOWDEN:           Thank you.
       4     BY MR. BOWDEN:




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      19                           MR. SCHMIDT:            Object to the
      20                 characterization.




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      15                 Q.        Set that aside.
      16                           I'll hand you what I'm
      17     marking as Exhibit Number 41.                        This will
      18     be P-1.1443.
      19                           (Document marked for
      20                 identification as Exhibit
      21                 Mahoney-41.)
      22     BY MR. BOWDEN:
      23                 Q.        Is that a question for your
      24     counsel or for me?
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       1                 A.        Just curious.




      21                 Q.        You have seen this letter?
      22                 A.        Yeah.




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      18                           MR. SCHMIDT:            Objection.
      19                 Foundation.
      20     BY MR. BOWDEN:




      24                           MR. SCHMIDT:            Objection.
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       1                 Characterization.




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       8                           MR. SCHMIDT:            Object to the
       9                 characterization.



      12     BY MR. BOWDEN:




      18                 Q.        I'm going to hand you what
      19     I'll mark as Exhibit Number 42.
      20                           (Document marked for
      21                 identification as Exhibit
      22                 Mahoney-42.)
      23     BY MR. BOWDEN:
      24                 Q.        On the first page, you can
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       1     see this is the administrative memorandum
       2     of agreement.            It's between the DEA and
       3     McKesson Corporation, right?
       4                 A.        Yes.
       5                 Q.        And in the background
       6     section, in Section Number 5, you can see
       7     that there were -- read that together.
       8     "Between March 2013 and the present, DEA
       9     executed one additional AIW and served
      10     numerous administrative subpoenas and
      11     conducted a number of cyclic inspections
      12     at various McKesson U.S. pharmaceutical
      13     distribution centers Nationwide,
      14     including McKesson Washington Courthouse,
      15     Ohio, distribution center, McKesson
      16     Livonia, Lakeland, and Aurora."
      17                           Do you see that?
      18                 A.        Yes.
      19                 Q.        On Page 2, you see Bullet
      20     Point Number 7?
      21                 A.        Page 2, Number 7.
      22                 Q.        It cites that, "On" -- "On
      23     or about November 14, 2014, McKesson
      24     received a letter dated November 4, 2014,
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       1     from the DEA stating the DEA was
       2     separately pursuing administrative action
       3     against McKesson-Aurora for the conduct
       4     outlined in the August 13, 2014, letter."
       5                           Do you see that?
       6                 A.        Yes.
       7                 Q.        And they go --
       8                 A.        The prior letter?
       9                 Q.        Right.
      10                 A.        Okay.




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       2                 Q.        Go on to Page 3.               As part of
       3     this agreement, McKesson did accept
       4     responsibility.              You're aware of that,
       5     right?
       6                 A.        I'm not sure the details of
       7     the settlement.
       8                 Q.        Well, let's look at
       9     bullet --
      10                 A.        You're talking about Number
      11     2 there?
      12                 Q.        Right.       Number 2, acceptance
      13     of responsibility.
      14                 A.        Mm-hmm.
      15                 Q.        The -- halfway down, it
      16     says, "McKesson acknowledges that at
      17     various times during the period from
      18     January 1, 2009, up through and including
      19     the effective date of this agreement, it
      20     did not identify or report to DEA certain
      21     orders placed by certain pharmacies which
      22     should have been detected by McKesson as
      23     suspicious based on the guidance
      24     contained in the DEA letters about the
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       1     requirements set forth in the CSA, right?
       2                 A.        Yes.
       3                 Q.        Underneath that on or
       4     about -- excuse me.                Strike that.




      11                           MR. SCHMIDT:            Object to the
      12                 characterization.




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       2                           MR. SCHMIDT:            Object to the
       3                 characterization.




      15                           MR. SCHMIDT:            Object to the
      16                 characterization.




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      10                           MR. SCHMIDT:            Same
      11                 objection.
      12                           THE WITNESS:            Can you repeat
      13                 the question?
      14     BY MR. BOWDEN:
      15                 Q.        Sure.       Another item they
      16     took issue with was the fact that
      17     McKesson should have been reporting
      18     suspicious orders and was failing to do
      19     so, right?
      20                 A.        Yes.
      21                 Q.        And if you go down to the
      22     bottom of Page 3, says, "McKesson failed
      23     to maintain effective controls against
      24     diversion of particularly controlled
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       1     substances into other legitimate medical,
       2     scientific, and industrial channels by
       3     sales of certain" -- "by sales to certain
       4     of its customers in violation of the CSA
       5     and the CSA implementing regulations."
       6                           Do you see that?
       7                 A.        Yes.
       8                 Q.        And then it gives a list of
       9     some of those distribution centers that
      10     failed to maintain effective controls
      11     against diversions, right?
      12                 A.        Yes.
      13                 Q.        And Lakeland, Florida, is
      14     one of those distribution centers, right?
      15                 A.        I see that.
      16                 Q.        And Lakeland, Florida, was
      17     one of the distribution -- distribution
      18     centers of which you had responsibility
      19     for during that time period, right?
      20                 A.        Yes.
      21                 Q.        In fact, during that entire
      22     time period from 2008 up until this
      23     agreement was signed in 2017, you had
      24     responsibility for Lakeland, Florida,
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       1     right?
       2                 A.        From a regulatory
       3     perspective?
       4                 Q.        Correct.
       5                 A.        Yes.
       6                 Q.        Now, as a result of this
       7     action, if you turn to Page 7, bullet
       8     point G.         G, yes.
       9                           "McKesson agrees that its
      10     authority to distribute controlled
      11     substances containing the drug code for
      12     Schedule II hydromorphone products, that
      13     is DEA drug code 9150 from its
      14     McKesson-Lakeland distribution center,
      15     DEA certificate of registration
      16     PM0000771, will be suspended for a period
      17     of one year commencing from the effective
      18     date of the agreement except for orders
      19     placed by permitted registrants."
      20                           Do you see that there?
      21                 A.        I do.
      22                 Q.        So as part of the penalty
      23     for Lakeland distribution center not
      24     appropriately sending suspicious order
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       1     reports to the DEA, their license to
       2     distribution center Schedule II products
       3     was suspended for a period of one year,
       4     right?
       5                           MR. SCHMIDT:            I'll object to
       6                 the characterization.
       7                           THE WITNESS:            Hydrocodone,
       8                 or hydromorphone?
       9     BY MR. BOWDEN:
      10                 Q.        Hydromorphone.
      11                 A.        Was suspended for one year.
      12     So that was a very narrow -- that's --
      13     that's one base code.




      18                 Q.        Okay.       And ultimately, as a
      19     result of the settlement agreement,
      20     McKesson agreed to pay $150 million fine,
      21     correct?
      22                 A.        Yes.
      23                           MR. BOWDEN:           Take a break.
      24                           THE VIDEOGRAPHER:               Remove
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       1                 your microphones.               The time is
       2                 6:02 p.m.         Going off the record.
       3                           (Short break.)
       4                           THE VIDEOGRAPHER:               We are
       5                 back on the record.                The time is
       6                 6:14 p.m.
       7                                  -    -    -
       8                              EXAMINATION
       9                                  -    -    -
      10     BY MR. SCHMIDT:
      11                 Q.        Mr. Mahoney, my name is Paul
      12     Schmidt.         I represent McKesson in this
      13     case.       We've been here for a very long
      14     day.      We're now into the evening, and
      15     upside, so I'm going to be targeted in my
      16     questions to you.
      17                           Can you tell the jury how
      18     long you have been at McKesson.
      19                 A.        Almost 18 years.               17 to
      20     18 years.
      21                 Q.        And what is it about your
      22     work at McKesson that's made you stay
      23     there for that period of time?
      24                 A.        Has good culture, and I
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       1     think the mission is something that I
       2     enjoy, empowering healthcare.
       3                 Q.        Can you describe for the
       4     jury the role that McKesson
       5     Pharmaceutical place in how prescription
       6     medicines get from the companies that
       7     make them to patients?
       8                 A.        McKesson buys
       9     pharmaceuticals from lots of different
      10     manufacturers and brings them into our
      11     local DC where customers, i.e.,
      12     pharmacies and hospitals, are able to
      13     order them for next-day delivery so they
      14     have them when they need them.
      15                 Q.        Does McKesson
      16     Pharmaceutical's work focus on
      17     interacting directly with doctors?
      18                 A.        Not generally, no.
      19                 Q.        Do you have an understanding
      20     of -- about whether when McKesson ships a
      21     prescription medicine to a pharmacy, a
      22     patient is only able to get that medicine
      23     from the pharmacy if they've seen a
      24     doctor and the doctor has made a judgment
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       1     that that patient should get a
       2     prescription for that medicine?
       3                           MR. BOGLE:          Object to form.
       4                           THE WITNESS:            McKesson
       5                 provides the supply for pharmacies
       6                 who are responding to scripts that
       7                 patients bring them generated by a
       8                 doctor.
       9     BY MR. SCHMIDT:
      10                 Q.        If a physician is writing
      11     more prescriptions for opioids, does that
      12     increase the overall distribution level
      13     for opioids?
      14                           MR. BOGLE:          Object to form.
      15                           THE WITNESS:            Can you repeat
      16                 that.
      17     BY MR. SCHMIDT:
      18                 Q.        Yeah, if physicians write
      19     more prescriptions for opioids, does that
      20     increase the overall level of
      21     distribution of opioids?
      22                 A.        Yes.
      23                           MR. BOGLE:          Object to form.
      24     BY MR. SCHMIDT:
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       1                 Q.        Does your level of
       2     distribution follow from what
       3     prescriptions do, or do you actually
       4     influence what prescriptions -- what
       5     physicians do?
       6                           MR. BOGLE:          Object to form.
       7     BY MR. SCHMIDT:
       8                 Q.        And let me re-ask it.                  I
       9     think I misspoke in my question.
      10                           Does your level of
      11     distribution follow from decisions that
      12     physicians make, or do you actually
      13     influence the decisions physicians
      14     make --
      15                           MR. BOGLE:          Object to form.
      16     BY MR. SCHMIDT:
      17                 Q.        -- in terms of prescribing
      18     medicines?
      19                 A.        In the distribution center
      20     we don't have any influence on
      21     prescribing habits.                We are just
      22     responding to what is pulled from us by
      23     the pharmacies.
      24                 Q.        Is this role that you've
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       1     been talking about true for opioids as
       2     well as other prescription medicines that
       3     McKesson distributes?
       4                 A.        Yes.
       5                 Q.        And can you give us a sense
       6     of whether, from your experience, opioids
       7     are a substantial majority, a majority, a
       8     minority, a substantial minority of the
       9     medicines that McKesson distributes?
      10                           MR. BOGLE:          Object to form.
      11                           THE WITNESS:            Substantial
      12                 minority.
      13     BY MR. SCHMIDT:
      14                 Q.        Do you have an understanding
      15     of the responsibility that a pharmacy has
      16     in terms of when they pass along an
      17     opioid to a patient that they have
      18     purchased from McKesson?
      19                 A.        Do I --
      20                           MR. BOGLE:          Object to form.
      21     BY MR. SCHMIDT:
      22                 Q.        Do you understand the
      23     responsibility that a pharmacy has when
      24     they pass along an opioid purchased from
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       1     McKesson to a patient?
       2                 A.        Yes.      They have
       3     corresponding responsibility.
       4                 Q.        Is part of your work -- does
       5     part of your work involve trying to
       6     identify where pharmacies might not be
       7     meeting their responsibilities in terms
       8     of whether you interact with those
       9     pharmacies?
      10                 A.        Yes.
      11                 Q.        And you've discussed
      12     McKesson's regulatory programs today.                             Am
      13     I understanding correctly from your
      14     testimony over the course of the day that
      15     McKesson's programs for doing diligence
      16     into pharmacies have changed over time?
      17                 A.        Yes.
      18                 Q.        Have developed?
      19                 A.        Yes.
      20                 Q.        What are those changes made
      21     in response to?
      22                 A.        They've been made to give us
      23     greater granularity of what we see in a
      24     pharmacy as they are buying from us and
     Golkow Litigation Services                                            Page 489
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       1     dispensing to their patients.
       2                 Q.        Are those changes made as
       3     you develop more information about
       4     practices with regards to opioids,
       5     concerns about diversions, information
       6     you get from your diligence, things like
       7     that?
       8                           MR. BOGLE:          Object to form.
       9                           THE WITNESS:            Yes.
      10     BY MR. SCHMIDT:




      16                 Q.        Do you have a view as to
      17     whether that's a good thing to try to
      18     improve your processes over time?
      19                           MR. BOGLE:          Object to form.
      20                           THE WITNESS:            It's
      21                 absolutely a good thing.
      22     BY MR. SCHMIDT:
      23                 Q.        Let's take one example.                   You
      24     have Exhibit 26, please.
     Golkow Litigation Services                                            Page 490
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       1                           MR. BOGLE:          Can you give me
       2                 the corresponding -- the other
       3                 exhibit number at the bottom?
       4                           MR. SCHMIDT:            The Bates
       5                 number?
       6                           MR. BOGLE:          No.
       7                           MR. SCHMIDT:            It's 1743, I
       8                 think you're thinking of.
       9                           MR. BOGLE:          Yeah.
      10     BY MR. SCHMIDT:
      11                 Q.        And if you look at Page 26
      12     of this exhibit.
      13                 A.        26?




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       6                           MR. BOGLE:          Object to form.




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       6                           MR. BOGLE:          Object to form.




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      10                           MR. BOGLE:          Object to form.




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      11                           MR. BOGLE:          Object to form.




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      14                           MR. BOGLE:          Object to form.




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                                                                               Review




       3                           MR. BOGLE:          Object to form.
       4     BY MR. SCHMIDT:




      17     BY MR. SCHMIDT:




      21                           MR. BOGLE:          Object to form.
      22     BY MR. SCHMIDT:




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       3                           MR. BOGLE:          Object to form.



       6     BY MR. SCHMIDT:
       7                 Q.        Do you have Exhibit 1 handy?
       8     Do you remember being asked questions
       9     about this 2006 letter from the DEA by
      10     the plaintiff lawyer?
      11                 A.        Yes.
      12                 Q.        And if you look at the
      13     second page of this letter -- it's 1464.
      14     If you look at the second page of this
      15     letter, about halfway down the letter,
      16     before and after the block quote is
      17     language getting at this idea of blocking
      18     orders.        Do you see that?               Do you
      19     remember being asked questions about
      20     that?
      21                 A.        Yes.




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       4                           MR. BOGLE:          Object to form.




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      14                           MR. BOGLE:          Object to form.




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       7                           MR. BOGLE:          Object to form.




      22                           MR. BOGLE:          Object to form.




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      22                 Q.        In the time that you've
      23     served as director of regulatory affairs,
      24     am I correct that your territory is
     Golkow Litigation Services                                            Page 506
Case: 1:17-md-02804-DAP Doc #: -1964-33
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       1     focused on the Southeastern United
       2     States?
       3                 A.        That's true.
       4                 Q.        Have you, other than filling
       5     in for people or doing backup duty,
       6     has -- has the primary focus of your work
       7     ever been on Ohio?
       8                 A.        Well --
       9                 Q.        On Cuyahoga County or Summit
      10     County in Ohio?




      14                 Q.        Did you have primary
      15     responsibility for opening or closing any
      16     pharmacies in Cuyahoga or Summit County?
      17                 A.        No, I didn't.




     Golkow Litigation Services                                            Page 507
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       9                           MR. BOGLE:          Object to form.




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                                                                               Review




      22                           MR. BOGLE:          Object to form.
      23     BY MR. SCHMIDT:
      24                 Q.        So let me re-ask the
     Golkow Litigation Services                                            Page 509
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       1     question.




     Golkow Litigation Services                                            Page 510
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       8                           MR. SCHMIDT:            Does someone
       9                 have the last exhibit number?
      10                 I'll call this Exhibit 50.
      11                           (Document marked for
      12                 identification as Exhibit
      13                 Mahoney-50.)
      14     BY MR. SCHMIDT:
      15                 Q.        I've marked as Exhibit 50 a
      16     document --
      17                           MR. SCHMIDT:            I'll pass it
      18                 down.       I'm sorry, I need that
      19                 back.       Apologies.
      20     BY MR. SCHMIDT:
      21                 Q.        I've marked as Exhibit 50 a




     Golkow Litigation Services                                            Page 511
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      10                           MR. BOGLE:          Object to form.
      11     BY MR. SCHMIDT:




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      11                           MR. BOGLE:          Object to form.




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       4                 Q.        I've marked as Exhibit 51 --
       5                           MR. SCHMIDT:            Thank you.
       6                           (Document marked for
       7                 identification as Exhibit
       8                 Mahoney-51.)
       9     BY MR. SCHMIDT:




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       8                           MR. BOGLE:          Object to form.




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      14                           MR. BOGLE:          Object to form.
      15     BY MR. SCHMIDT:




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       8                           First off, prior to 2006,
       9     was Lakeland responsible for supplying
      10     opioids to Summit County, Ohio or
      11     Cuyahoga County, Ohio?
      12                 A.        No.




      21                           MR. BOGLE:          Object to form.
      22     BY MR. SCHMIDT:




     Golkow Litigation Services                                            Page 521
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       5                           MR. BOGLE:          Object to form.




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      21                           MR. BOGLE:          Object to form.




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      16                           MR. BOGLE:          Object to form.




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      14                           MR. BOGLE:          Object to form.




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       4                 Q.        Let's look at Exhibit 9,



       7                           Do you see that?
       8                 A.        Yes.
       9                           MR. BOGLE:          What's the --
      10                 what's the number?
      11                           MR. SCHMIDT:            1963.
      12     BY MR. SCHMIDT:
      13                 Q.        Do you see that,
      14     Mr. Mahoney?
      15                 A.        Yes.




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       6                           MR. BOGLE:          Object to form.




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       5                           MR. BOGLE:          Object to form.




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      14                           MR. BOGLE:          Objection to
      15                 form.




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      21                           MR. BOGLE:          Object to form.




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                                                                               Review




      21                 Q.        Let me ask you about a
      22     couple other exhibits.                   Exhibit 11,
      23     please.
      24                           Do you have that in front of
     Golkow Litigation Services                                            Page 532
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       1     you?
       2                           MR. BOGLE:          What's the
       3                 cross-reference?
       4                           MR. SCHMIDT:            1947.
       5     BY MR. SCHMIDT:




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       1                           MR. BOGLE:          Object to form.




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                                                                               Review




      18                 Q.        Do you have Exhibit 16 and
      19     17 in front of you?
      20                 A.        Yes.
      21                 Q.        These are, I believe, web
      22     page articles that the plaintiff lawyer
      23     said he pulled down and asked you
      24     questions about.              Do you have any way to
     Golkow Litigation Services                                            Page 535
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       1     vouch for the accuracy of what they
       2     report?
       3                 A.        I don't.




      15                           MR. BOGLE:          Same objection.
      16     BY MR. SCHMIDT:




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       5                           MR. BOGLE:          Object to form.
       6     BY MR. SCHMIDT:
       7                 Q.        Do you have in front of you
       8     Exhibit 19, the agreement in 2008?
       9                 A.        Yes.
      10                 Q.        Look with me if you would at
      11     Page 2 of the document.                   It's 889.          Do
      12     you see where it says, "No admission or
      13     concession"?
      14                 A.        Yes.
      15                 Q.        Tell me if I read this
      16     correctly:          "This agreement is neither an
      17     admission by McKesson of liability or of
      18     any allegations made by DEA in the orders
      19     and investigations nor a concession by
      20     DEA that its allegations in the orders of
      21     investigations are not well founded."
      22                           Did I read that correctly?
      23                 A.        Yes.
      24                 Q.        If you look at Page 0714 of
     Golkow Litigation Services                                            Page 537
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       1     this document.             Down below.           14 at the
       2     top?
       3                 A.        That's easier.
       4                 Q.        I'm going to read
       5     Paragraph 9 and ask you if I've read this
       6     correctly.          "By entering into this
       7     agreement McKesson does not admit to the
       8     violations alleged as a result of any DEA
       9     investigation or to any violation of law,
      10     liability, fault, misconduct or
      11     wrongdoing.           McKesson explicitly denies
      12     any allegations of violations of the CSA
      13     or DEA regulations and represents that
      14     the company has defenses to the
      15     violations alleged by the government."
      16                           Did I read that correctly?
      17                 A.        Yes.




      22                           MR. BOGLE:          Object to form.
      23     BY MR. SCHMIDT:
      24                 Q.        Just a few more.
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       1                           Do you have exhibit -- do
       2     you have Exhibit 3 in front of you?                            851.
       3                 A.        Yes.
       4                 Q.        Turn with me if you would to
       5     Page 18.         Do you remember being called --
       6     asked questions about this slide deck?
       7                 A.        18, 19?




      19                           MR. BOGLE:          Object to form.




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      12                           MR. BOGLE:          Object to form.
      13     BY MR. SCHMIDT:




      22                           MR. BOGLE:          Object to form.




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      16                           MR. BOGLE:          Sorry, what was
      17                 the cross-reference?
      18                           MR. SCHMIDT:            1355.




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      17                           MR. BOGLE:          Object to form.




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      21                           MR. BOGLE:          Object to form.




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      10     BY MR. SCHMIDT:




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      16                           MR. BOGLE:          Object to form.




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      16                           MR. BOGLE:          Object to form.




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      15                           MR. BOGLE:          Object to form.




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      11                           MR. SCHMIDT:            That's all I
      12                 have, Mr. Mahoney.                Thank you.
      13                           MR. BOGLE:          I've got some
      14                 follow-up, and you guys have a
      15                 chance to ask questions if you
      16                 want.       I just want to mark the
      17                 time.       Let's go off the record.
      18                           THE VIDEOGRAPHER:               Sure.
      19                 Okay.       The time is 7:05 p.m.
      20                 Going off the record.
      21                           (Short break.)
      22                           THE VIDEOGRAPHER:               We are
      23                 back on the record.                The time is
      24                 7:09 p.m.
     Golkow Litigation Services                                            Page 550
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       1                                  -    -    -
       2                              EXAMINATION
       3                                  -    -    -
       4     BY MR. BOGLE:
       5                 Q.        Mr. Mahoney, I have a few
       6     follow-up questions for you.                       I know you
       7     probably want to get out of here.                          So you
       8     were asked some questions about when
       9     McKesson supplies drugs to pharmacies.                              I
      10     think you provided testimony along the
      11     lines of that McKesson only distributes
      12     when there's a prescription from a
      13     doctor, right?
      14                 A.        I think what I was saying is
      15     that we -- we don't -- we don't push the
      16     drugs.       We respond to orders from
      17     pharmacists who are filling scripts from
      18     doctors.




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       8                           MR. SCHMIDT:            Objection.
       9                 Foundation.




     Golkow Litigation Services                                            Page 552
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       1                           MR. SCHMIDT:            Objection.
       2                 Form.




      13                           MR. SCHMIDT:            Objection.
      14                 Form.




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      21                           MR. SCHMIDT:            Objection.
      22                 Characterization.




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      10                           MR. SCHMIDT:            Objection.
      11                 Characterization.




     Golkow Litigation Services                                            Page 555
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      15                           MR. SCHMIDT:            Objection to
      16                 the characterization.
      17     BY MR. BOGLE:
      18                 Q.        You recall that discussion,
      19     don't you?
      20                 A.        Yes, I recall that
      21     discussion.




     Golkow Litigation Services                                            Page 556
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      13                 Q.        Okay.       And you were asked
      14     some questions about the 2008 settlement
      15     agreement and whether McKesson accepted
      16     liability or responsibility for those
      17     actions outlined in the agreement.                           Do
      18     you recall that?
      19                 A.        Yes.
      20                 Q.        Okay.       I believe you
      21     testified that there was no admission of
      22     guilt.       Something to that effect, right?
      23                 A.        That was just asked, right?
      24                 Q.        Right, right.            By your
     Golkow Litigation Services                                            Page 557
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       1     counsel.
       2                 A.        Right.
       3                 Q.        And so, listen, in your
       4     experience at 18 years at McKesson, does
       5     the company routinely pay
       6     $13-plus-million fines for things that
       7     they didn't do?
       8                           MR. SCHMIDT:            Objection.
       9                 Foundation.
      10                           THE WITNESS:            I don't
      11                 believe so.
      12     BY MR. BOGLE:




      21                 Q.        They don't have to roll over
      22     and just say we quit, right?
      23                           MR. SCHMIDT:            Objection.
      24                 Foundation.           Calls for a legal
     Golkow Litigation Services                                            Page 558
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       1                 conclusion.
       2     BY MR. BOGLE:




      10                 Q.        Right.       And McKesson quit on
      11     that fight, right?
      12                           MR. SCHMIDT:            Object to
      13                 characterization.
      14                           THE WITNESS:            There was a
      15                 settlement.
      16     BY MR. BOGLE:
      17                 Q.        Right.       $13-plus-million
      18     settlement, right?
      19                           MR. SCHMIDT:            Objection.
      20                 Asked and answered.
      21                           THE WITNESS:            Yes.
      22     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 559
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                                                                               Review




       6                           MR. SCHMIDT:            Objection,
       7                 calls --
       8     BY MR. BOGLE:
       9                 Q.        They didn't have to settle?
      10                           MR. SCHMIDT:            Objection.
      11                 Calls for a legal conclusion.
      12     BY MR. BOGLE:
      13                 Q.        True?
      14                 A.        That's my understanding.




     Golkow Litigation Services                                            Page 560
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       7                 Q.        You were asked -- I'm trying
       8     to find the exhibit number.                      1.1962 which
       9     is Exhibit 25.             If you can track that one
      10     down.




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      10                           MR. SCHMIDT:            Objection.
      11                 Foundation.




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       5                           MR. SCHMIDT:            Object to the
       6                 preamble; move to strike the
       7                 preamble.         Object to form.
       8     BY MR. BOGLE:




      22                           MR. SCHMIDT:            Objection to
      23                 form.


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      12                           MR. SCHMIDT:            Objection to
      13                 form.




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      23                           MR. SCHMIDT:            Objection.
      24                 Foundation.
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       7                           MR. SCHMIDT:            Objection.
       8                 Vague.




      17                           MR. SCHMIDT:            Objection.
      18                 Form.




      23     BY MR. BOGLE:


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       8                           MR. SCHMIDT:            Objection.
       9                 Form.




      24                           MR. SCHMIDT:            Objection.
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       1                 Form.       Vague as to time.
       2     BY MR. BOGLE:
       3                 Q.        Any time.
       4                           MR. SCHMIDT:            Objection to
       5                 form.
       6     BY MR. BOGLE:




      20                           MR. SCHMIDT:            Objection.
      21                 Asked and answered three or four
      22                 times now.




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       7                           MR. SCHMIDT:            Objection.
       8                 Form.       Foundation.
       9     BY MR. BOGLE:




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       1                           MR. SCHMIDT:            Let him finish
       2                 his answer, please.




      13                           MR. SCHMIDT:            Objection.
      14                 Form.       Asked and answered.




     Golkow Litigation Services                                            Page 570
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       6                           MR. SCHMIDT:            Objection.
       7                 Foundation.           Vague as to time.
       8     BY MR. BOGLE:
       9                 Q.        Anytime.
      10                           MR. SCHMIDT:            Objection.
      11                 Foundation.           Asked and answered.




     Golkow Litigation Services                                            Page 571
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       4                           MR. SCHMIDT:            I'll just
       5                 object to the lecturing of the
       6                 witness.         It's not inappropriate.
       7                 I'll move to strike the preamble.
       8                 Asked and answered.                Form.




     Golkow Litigation Services                                            Page 572
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       3                           MR. SCHMIDT:            Object to
       4                 characterization.




     Golkow Litigation Services                                            Page 574
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      20                           MR. BOGLE:          How much time
      21                 have I used?
      22                           THE VIDEOGRAPHER:
      23                 20 minutes.
      24     BY MR. BOGLE:
     Golkow Litigation Services                                            Page 577
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       1                 Q.        I'm going to hand you what
       2     I'm marking as Exhibit 43.                     Also marked
       3     as 1.1864.
       4                           (Document marked for
       5                 identification as Exhibit
       6                 Mahoney-43.)
       7     BY MR. BOGLE:




      12                           MR. SCHMIDT:            I'm just going
      13                 to enter an objection on the
      14                 scope.       I think this is well
      15                 outside the scope of anything that
      16                 I did.       If I could have a running
      17                 objection.
      18                           MR. BOGLE:          He raised the
      19                 issue.       I wasn't going to go here,
      20                 but he raised the issue.
      21                           MR. SCHMIDT:            I still think
      22                 it's outside the scope.                   May I
      23                 have a running objection?
      24                           MR. BOGLE:          Sure.
     Golkow Litigation Services                                            Page 578
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       1     BY MR. BOGLE:




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      20                           MR. SCHMIDT:            Object to the
      21                 characterization.               Foundation.
      22     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 580
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      12                           MR. SCHMIDT:            Object to
      13                 foundation.




     Golkow Litigation Services                                            Page 581
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       1                           MR. SCHMIDT:            Objection.
       2                 Foundation.
       3     BY MR. BOGLE:




     Golkow Litigation Services                                            Page 582
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       7                           MR. SCHMIDT:            Object to
       8                 characterization.               Foundation.




      22                           MR. SCHMIDT:            Objection.
      23                 Characterization.


     Golkow Litigation Services                                            Page 583
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      18                           MR. SCHMIDT:            Object to the
      19                 characterization.
      20     BY MR. BOGLE:
      21                 Q.        You were asked about
      22     Exhibit 1.1464, which was Exhibit 1 to
      23     the deposition.              It's the September 27,
      24     2006, letter from Mr. Rannazzisi.                          You
     Golkow Litigation Services                                            Page 584
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       1     again talked about the reference to
       2     potentially blocking orders being new in
       3     this letter.            Do you recall saying that?
       4                 A.        Yes.




      10                           MR. SCHMIDT:            Objection.
      11                 Foundation.
      12     BY MR. BOGLE:




      23                 Q.        Okay.       Well, you're familiar
      24     with the statistic I believe that's even
     Golkow Litigation Services                                            Page 585
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       1     on McKesson's website that one-third of
       2     all pills distributed in the United
       3     States come from your company, right?
       4     Are you familiar with that stat?
       5                 A.        I'm not sure that I've seen
       6     it on the website.                But I know that our
       7     market share is roughly in line with
       8     that.
       9                 Q.        Right.       So to say that you
      10     guys at McKesson don't have an impact on
      11     the amount of pills, and specifically
      12     controlled substances that might appear
      13     in any region in this country, is a bit
      14     overstated if you guys, in fact, supply
      15     one out of every three pills in the
      16     United States, right?
      17                           MR. SCHMIDT:            Objection.
      18                 Characterization.
      19                           THE WITNESS:            I think that
      20                 an expression of our market share
      21                 in saying that one out of every
      22                 three opioids, I don't see the
      23                 linkage there necessarily as cause
      24                 and effect.
     Golkow Litigation Services                                            Page 586
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       1     BY MR. BOGLE:




       7                           MR. SCHMIDT:            Objection.
       8                 Foundation.




      23                           MR. SCHMIDT:            And I think he
      24                 did answer your question.                     Asked
     Golkow Litigation Services                                            Page 587
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       1                 and answered.
       2     BY MR. BOGLE:




      11                           MR. SCHMIDT:            Objection.
      12                 Compound.         And form.




     Golkow Litigation Services                                            Page 588
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       6                           MR. SCHMIDT:            Objection.
       7                 Objection.          Argumentive.




      16                           MR. SCHMIDT:            Objection.
      17                 Foundation.




     Golkow Litigation Services                                            Page 589
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       2                           MR. SCHMIDT:            Objection.
       3                 Foundation.




      16                           MR. SCHMIDT:            Objection to
      17                 characterization.




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       2                           MR. SCHMIDT:            Objection.
       3                 Form.




      14                           MR. SCHMIDT:            Objection.
      15                 Argumentive.




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      17                           MR. SCHMIDT:            Objection.
      18                 Foundation.




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      23                           MR. SCHMIDT:            Objection.
      24                 Foundation.           Characterization.
     Golkow Litigation Services                                            Page 593
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      10                           MR. SCHMIDT:            Objection.
      11                 Asked and answered.




      23                           MR. SCHMIDT:            Were you --
      24                 were you finished with your
     Golkow Litigation Services                                            Page 595
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       1                 answer?




      12                           MR. SCHMIDT:            Object to
      13                 characterization.




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      12                           MR. SCHMIDT:            Objection.
      13                 Characterization.
      14     BY MR. BOGLE:




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      10                           MR. SCHMIDT:            Objection.
      11                 Characterization.
      12     BY MR. BOGLE:




      20                           MR. BOGLE:          No further
      21                 questions.
      22                           MR. SCHMIDT:            I just need a
      23                 minute.
      24                           THE VIDEOGRAPHER:               Off the
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       1                 record, right?             The time is
       2                 7:46 p.m.         Going off the record.
       3                           (Short break.)
       4                           THE VIDEOGRAPHER:               The time
       5                 is 7:49 p.m.           Back on the record.
       6                                  -    -    -
       7                              EXAMINATION
       8                                  -    -    -
       9     BY MR. SCHMIDT:




      17                           MR. BOGLE:           Object to form.




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      11                           MR. SCHMIDT:            Thank you.
      12                 That's all.
      13                           MR. BOGLE:          Got nothing.
      14                           THE VIDEOGRAPHER:               Okay.
      15                 Stand by, please.               This marks the
      16                 end of today's deposition.                     The
      17                 time is 7:50 p.m.               Off the record.
      18                           (Excused.)
      19                           (Deposition concluded at
      20                 approximately 7:50 p.m.)
      21

      22

      23

      24

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       1
       2                              CERTIFICATE
       3
       4
       5                  I HEREBY CERTIFY that the
             witness was duly sworn by me and that the
       6     deposition is a true record of the
             testimony given by the witness.
       7

                          It was requested before
       8     completion of the deposition that the
             witness, WILLIAM DE GUTIERREZ-MAHONEY,
       9     have the opportunity to read and sign the
             deposition transcript.
      10
      11
      12                 __________________________________
                         MICHELLE L. GRAY,
      13                 A Registered Professional
                         Reporter, Certified Shorthand
      14                 Reporter, Certified Realtime
                         Reporter and Notary Public
      15                 Dated: December 3, 2018
      16
      17
      18                  (The foregoing certification
      19     of this transcript does not apply to any
      20     reproduction of the same by any means,
      21     unless under the direct control and/or
      22     supervision of the certifying reporter.)
      23
      24

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       1                    INSTRUCTIONS TO WITNESS
       2

       3                           Please read your deposition
       4     over carefully and make any necessary
       5     corrections.            You should state the reason
       6     in the appropriate space on the errata
       7     sheet for any corrections that are made.
       8                           After doing so, please sign
       9     the errata sheet and date it.
      10                           You are signing same subject
      11     to the changes you have noted on the
      12     errata sheet, which will be attached to
      13     your deposition.
      14                           It is imperative that you
      15     return the original errata sheet to the
      16     deposing attorney within thirty (30) days
      17     of receipt of the deposition transcript
      18     by you.        If you fail to do so, the
      19     deposition transcript may be deemed to be
      20     accurate and may be used in court.
      21

      22

      23

      24

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       1                           -    -    -    -    -    -
                                       E R R A T A
       2                           -    -    -    -    -    -
       3

       4     PAGE      LINE      CHANGE
       5     ____      ____      ____________________________
       6          REASON:        ____________________________
       7     ____      ____      ____________________________
       8          REASON:        ____________________________
       9     ____      ____      ____________________________
      10          REASON:        ____________________________
      11     ____      ____      ____________________________
      12          REASON:        ____________________________
      13     ____      ____      ____________________________
      14          REASON:        ____________________________
      15     ____      ____      ____________________________
      16          REASON:        ____________________________
      17     ____      ____      ____________________________
      18          REASON:        ____________________________
      19     ____      ____      ____________________________
      20          REASON:        ____________________________
      21     ____      ____      ____________________________
      22          REASON:        ____________________________
      23     ____      ____      ____________________________
      24          REASON:        ____________________________
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       1

       2                 ACKNOWLEDGMENT OF DEPONENT
       3

       4                           I,_____________________, do
       5     hereby certify that I have read the
       6     foregoing pages, 1 - 606, and that the
       7     same is a correct transcription of the
       8     answers given by me to the questions
       9     therein propounded, except for the
      10     corrections or changes in form or
      11     substance, if any, noted in the attached
      12     Errata Sheet.
      13

      14

      15      _______________________________________
      16      WILLIAM DE GUTIERREZ-MAHONEY                              DATE
      17

      18

      19     Subscribed and sworn
             to before me this
      20     _____ day of ______________, 20____.
      21     My commission expires:______________
      22

             ____________________________________
      23     Notary Public
      24

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       1                           LAWYER'S NOTES
       2     PAGE      LINE
       3     ____      ____      ____________________________
       4     ____      ____      ____________________________
       5     ____      ____      ____________________________
       6     ____      ____      ____________________________
       7     ____      ____      ____________________________
       8     ____      ____      ____________________________
       9     ____      ____      ____________________________
      10     ____      ____      ____________________________
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      12     ____      ____      ____________________________
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      15     ____      ____      ____________________________
      16     ____      ____      ____________________________
      17     ____      ____      ____________________________
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      20     ____      ____      ____________________________
      21     ____      ____      ____________________________
      22     ____      ____      ____________________________
      23     ____      ____      ____________________________
      24     ____      ____      ____________________________
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